Case 09-10138-MFW Doc 1348-1 Filed 08/19/09 Page 1 of 23

GRAYBAR V. NORTEL

Case No. 09-10164-KG (Chapter 15}; in re: Norte! Networks Corporation, Debtor,
In the U.S. Bankruptcy Court, District of Delaware
(Bankruptcy filed 1-14-09)

20-Day Administrative Claim

Claim ScheduleLABLA\Graybar-60709\Nortel-138\Claim Schedule

1 Invoice Date. _ |Shipped Date [Amount |Lien/Bond.
938841739 12/29/2008 12/29/2008 $503.41
938898950 1/2/2009 1/2/2009 $532.12
938895840 1/2/2009 1/2/2009 $59.77
938895841 1/2/2009 1/2/2009 $132.12
938898949 1/2/2009 1/2/2009 $649.14
938898951 1/2/2009 1/2/2009 $335.96
938898950 1/2/2009 1/2/2009 $532.12
938895840 1/2/2009 1/2/2009 $59.77
938895841 1/2/2009 1/2/2009 $132.12
938898949 1/2/2009 1/2/2009 $649.14
938898951 1/2/2009 1/2/2009 $335.96
938951198 1/6/2009 1/6/2009 $278.40
938955822 1/6/2009 1/6/2009 $18.50
939027092 1/9/2009 1/2/2009 $50.16
939046342 1/12/2009 1/5/2009 $220.67
939057310 1/12/2009 1/12/2009 $39.32
939046342 1/12/2009 1/5/2009 $220.67
939046343 1/12/2009 1/12/2009 $215.05
939060758 1/12/2009 1/12/2009 $387.87
939085088 1/13/2009 1/13/2009 $115.83
939112601 1/14/2009 1/14/2009 $347.27

TOTAL = $5,815.37

Case 09-10138-MFW Doc 1348-1 Filed 08/19/09 Page 2 of 23

Remit to :

INVOICE

acer ysyheeoes

716-565-5500

®
12444 COLLECTIONS CENTER DRIVE. Reprint
CHICAGO IL $0893-27444 Invoice No: 938841739
Invoice Date: 12/29/2008
Account Number: 134473
. Account Name: NORTEL NEFWORKS
Bill-To: :
' Ship-To:z
NORTEL NETWORKS NORTEL-4320039 150
ACCOUNTS PAYABLE
TOM CLEMONS
300 CANAL VIEW BLVD. NORTEL-43200391 80
ROCHESTER NY 144623
USA NORTEL-4320039150

300 CANAL VIEW BLYD
ROCHESTER NY 14623

USA
Page 7} of 1
Order Number: 4320039150-74 401647/AA43427/COWAND
Del .Doc.#: |PRO # Routing Date Shipped |Shipped From F.O.B. |Rt. To
832452736 1Z6A3R960309198847 UPS-GROUND 42/29/2008 ZONE- SIP - FIA
YOUNGS TOWIN,OH

Quantity | Catalog # / Description Unit Price / Unit Amount

1 256-007 _ GAI-TRONICS CORP 503.41 / 1 503.41

WEATHER PROOF PHONE VALOX

Terms of Payment Sub Total: 503,41
Net 30 Days Fraight & Handling: 0.00
As a condition of the sales agreement, a monthly
service charge of the legser of 41-1/2% or the maximum Tax: 0.00
permitted by law may be added to all accounts not paid} Total Due: 503.41

by net due Gate. Visa, MasterCard, American Express,
and Discover credit cards are accepted at point of
purchase only.

Terms and Conditions of sale:

L. ACCEPTANCE OF ORDER; TERMINATION ~ Accepiarce of any order_is subject to credit, approval and acceptance of order by Seller and, when applicable, Seller's suppliers. ff Buyer's credit becomes
thsatisiactory 10 Seller, Seller reserves Ihe tight 10 Wraunate upon nukes to Buyer aod wilkout abdiny to Sellen ¥ oP oP Buy

2. PRICES AND SHIPMENTS ~ Unless otherwise quoted, prices shall te those in effect at time of shipment which shall be made F.O.B. shipping point, prepaid and bill,
3. RETURN OF GOODS - Credit will be allowed for goods returned with prior approval. A deduction will be made from credits issued ro cover cost of handling.

%, TAXES ~ Prices shown do not include. sales or other taxes imposed on the sale of goods, Taxes now or hereafter imposed upon sales or shipments will be added to the purchase price, Buyer agrees to
tetmburse Seller for any such tax or provide Seiler wuh acceprable tax exemption certificate.

3. DELAY IN DELIVERY - Seller is not to be accountable for delays in delivery occasioned by acts of G failure of jts suppliers tc ship or deliver on tine, or other circumstances beyond Seller's
teasopabie conmmat. Factory shipment or delivery dates are the best estimates of our suppliers, anh in To. cas ll Seller be fable for any consequential of specril damages mang fom any delay in shipment
Or uciivery. :

6, WARRANTIES - Sail that all is sali fice of a ity interest and will make available io Rayer af tansferabl antl ade to Seller by the manufacmrer of the soods, SELLER
MAKES NO COPIER ERP ESS OR TNLEL ES AE CUTIES, LY Seeetity amare and PHL make avaiable ta, Bayer aif transferable warraruies, mie Sel FUSES FOR PURPOSE: teres
OPHERWISE AGREED IN WRITING BY AN AUTHORIZED REPRESENTATIVE OF SECLER, PRODUCTS SOLD HEREUNDER ARE NO? INTENDED FOR USE IN OR IN CONNECTION WITH A

7. LIMITATION OF LIABIL ~, Buyer's dics under this contract are subject to any limiations contained in manufacnuer's terms and conditions to Seller, a ¢ of which will be fummished upon
written request. Furthermore, ales lisbility shalt be tunited to either repair on replacement of the goods or redund of the purchase price, afl at fler's option, and no ease shail Seller be Hable SS
special or corsequemtial damages. In additiod, claims for shortages, other jess im fransit, most be made in writing not more than’ five (3) days after receipt of shiproem.

8. WAIVER + The failure of Seller to insist upon, the performarce of any of the terms or conditions of this contract or to exercise any right hereunder shall nor be deemed to be a waiver of such tems.
conditions or rights mm the future, nor shale it He deemed to be a waiver OE any other term, condirion, or right under this contract, ye ‘

9. MODIFICATION OF TERMS AND. CONDITIONS - Mo. ¢ and condition: ec than those stated herein, and no agreement or undecstanding, in any way pu rina to modify these iqnms of
conditions, shall be. binding on Seller without the OR wHter ecasent, Any ng (ether or d oom terms in the Buyer's Form are hetaby fee eb Patera” ee

. . ¢ Taaterlal alterations and nefee of objection to them
and rejection of inem is hereby given. :
Id. REELS - When the Seller ships ratutmable wails, a reel deposit will be included in the ivoire, The Buyer should contact the nearest Graybar service location to retum reels.

IL. | CERTIFICATION - We hereby certify thar these goods adduced in compliance with all applicable requirements of sections 6, 7, and 2 of dre Fair Labor Standards Act, as amended, and of
regulations and ardess of the United ‘Suce Department oF Tor Yesued. ander section ef thetece, appa req

Return this copy with your payment.

Case 09-10138-MFW Doc 1348-1 Filed 08/19/09 Page 3 of 23

Remit to :

INVOICE

: Je 703-631-8600
PO BOX 403049 Reprint
ATLANTA GA 30384-3049 Invoice No: 938898950
Inveics Date: 017062/2008
Account Number! 222639
Account Name: NORTEL GOVERMENT
NORTEL GOVER INC Ship-To:
MENT SOLUTIONS, INC. ° :
rora5 GAR CARES Ce SOUAL security AOMINSTHATION
FRIRFAK VA 22033 PATRICK GOINS/NGS 703-219-1884

PATRICK GOINS/NGS 703-219-1884
9150 GUILFORD ROAD
COLUMBIA MD 21046

USA
Page 1 of 1
Order Number: POOQS-GO001
Del .Doc.#: [PRO # Routing Date Shipped [Shipped From F.O.B. j|Rt. To
832493098 1Z34428X0207906268 UPS-GROUND 64/02/2009 ZONE-AUSTELL, GA PPD - Bi
Quantity | Catalog # / Description Unit Price / Unit | Amount
3. FLUKE-117 FLUKE ELECTRONICS CORP. 164.42 / i 493.26
ELECTRICIANS MULTIMETER
Terms of Payment Sub Total: 493.26
Net 30 Days Freight: 6.256
As a condition of the sales agreement, a monthly Handting: . 3.00
service charge of the lesser of 1-1/2% or the maximum Tax: 29.60
permitted by law may be added to all accounts not paid| Total Due: 532.12

by net due date, Visa, MasterCard, American Express,
and Discover credit cards are accepted at point of
purchase only.

“Terms and Conditions of sae:

I. ACCEPTANCE OF ORDER; TERMINATION - Acceptance of any ordey_is subject io credit al and acceptance of order by Seller and, when applicable, Sellec’s suppliers. If Buyer's evedit becomes
unsatisfactory to Seiler, Seller reserves the right to vennirte upaa mee to Buyer ded without Tiabt iy Sele on ¥ < De pai 7 °

2. PRICES AND SHIPMENTS - Uriless otherwise quoced, prices shall be those in effect ar time of shipment which shall be made P.0.B. shipping point, prepaid and till.
3. RETURN OF GOODS - Credi: will be allowed for goads remmed with prior approval, A deduction will be made from credits Issued to cover cost of handling.

4. TAXES » Prices shown do not include, ies. ff other taxes i don the sale of goods. Taxes now or hereafter imposed upon sales or shipments will be added to the purchase price. Buyer agrees ta
teimburse Seller for any such tax or provides ler with accepranle fax exemption cenificate,

5. DELAY IN GELIVERY ~.Seller is not to be accountable for delays in delivery oceasioned by gcis of God, failnze of its supplieya to ship or deliver on time, or other circumstances beyond Seligr's
reasensble conmral, TER shipment or delivery daics are the best catumnates oF oe suppliers, and in no case shalf Seller be fable ir any A quential or special & ansing irom ay delay in shipment
Wery, .

6. WARRANTIES - Seller warrants that all ecods 3 free of any security ierest ard will available to B all transferable warranties made to Seller by the manutacaer of the goods, SELLER
© MARR NTRES LSE ayers, tat all poorly 2008 are. Ares Of cay Segui Geugres ad, vill ee AU MES QAR N IES OF MERCEANT AGILITY OR HINES FOR PURPOSE,

, NLESS
GAHERWISE AGREED IN WRITING BY AN AUTHORIZED’ REPRESENTATIVE OF SELLER, PRODUCTS SOLD REREUNDER ARE NOT INTENDED FOR SRN CARAS VION WITH A
a L. .

T. LIMITATION_OE LIABILITY - Buyer's remadies wuder this contract are subject to any Tintations contained in manufacturer's terms and conditions to Seller, 2 copy of which Syl be furnished upon
written cequést, Furikermore, Seller's Hability shall be, Himiled to either fepair 9° Teplacement of the goods or refund of the purchase price, all at Seller's option,” and in no case shall Seller be lable for
special or consequential damages. in addition, claimg for shorages, other than loss in Gansit, must be wade in wriling noc mhore than Ave (5) days after regelpt of shipment.

. WAIVER «The failure of Seller to insist upon the perfonmance of any of the Jerms or conditions of this commast or to exercise any right hereunder shall not be deemed to be a waiver of such terms,
conditions or righis in the funwe, nor shall it be deemed to be a waiver of any olher term, condition, or make vadar this contract.

9. MODIFICATION OF TERMS AND CONDITIONS - No.1 and conditions other than chose stated herein, and no agreement or understanding, in way perporting to modify these terms or
coy, shalt be binding op Ber without the Seiler's Wrilten CouseEh, Any additional. or different terms in. the Guyer’s torm ae hereby deemed 10 be teatenal’ al eraniobs and naelce of objection to them
and rejection of them 1 Reveby given,

10, REELS - When the Seller ships retumable secls, a ree} deposit will he included in the involee. The Buyer should contact the nearest Graybar service location io rerum reels.

11, CERTIFICATION - We hereby certify hat these goods were produced ii it ‘ith all applicab) i ts Of scctions 6, 7, ' of the Fair Labor Standards Act. as amended, end of
regulations and orders of the ‘United States Depart of ‘Lebor Yeoued: "der 1 An. comps tape yl appease reqceen . and 12 o m seingans Ach a8

Return this copy with your payment.
Case 09-10138-MFW Doc 1348-1 Filed 08/19/09 Page 4 of 23

Remit to : &

INVOICE

ee

PO BOX 403049 Reprint
ATLANTA GA 30384-3049 , invoice No: $38895840

Invoice Data: 61/02/2009

Account Number: 222639

Account Name: NORTEL GOVERMENT
Cone : : Ship-To:
NORTEL GOVERMENT SOLUTIONS, INC. SOCIAL SECURITY ADMINISTRATION
12730 FAIR LAKES CIRCLE SOCIAL SECURITY ADMIN, .
Lem VA 22088 PATRICK GOINS/NGS 703-219-1884

9150 GUILFORD ROAD
COLUMBIA MD 21046

USA
Page 1 of 4

Order Number: POOS-0001

BDel.boc.#: | PRO # Routing Date Shipped |Shipped From F.O.5. {Rt. To
832493118 122104160358511037 UPS-GROUND 01/02/2009 CHARLOTTE, NC PPD - Bill

Quantity | Catalog #4 / Description Unit Price / Unit Amount

1 85078 KLEIN FOOLS INC 48.07. i 1 48.01
SCREWDRIVER SET 8-PC. CUSHION-GRIP ASSO

Terrns of Payrnent Sub Total: 48.01
Net 30 Days Freight: 5.87
As a condition of the sales agreement, a monthly Handling: 3.00
service charge of the lasser of 1-1/24 or the maximum Tax: 2,89
permitted by Law may be added to all accounts nct paid| Total Due: 69.77
by net due date. Visa, MasterCard, American Express,

and Discover credit cards are accepted at point of

purchase only.

Terms and Corditions of sale:

1, ACCEPTANCE OF ORDER: TERMINATION - Acceptance of any order is subject to credit approval and acceptance of order by Seiler and, when applicable, Seller's suppliers. If Buyer's credit becomes
unsatistactory to Selier, Seller reserves the right to rerminate upan notice Buyer and without Nabilhy to Seller.

2, PRICES AND SHIPMENTS - Unless otherwise quoted, prices shall be those in effect at time of shipment which shail be made F.Q.B. shipping point, prepaid and bill
3. RETURN OF GOODS - Crediz will be allowed for gcods remrned with prior approval. A deduction will be made from credits issued to cover cost of handling.

4. TAXES - Pri shown co not include sal ther taxes i ad an the sale of goods. T: heseafter imposed upon sales or shipments will be added to the purchase price, Buyer agrees to
reimburse Seller tor ay such x ory provies ‘Seller one spcopable, te ign eeciifeae, OY OF NeRSNET ee Upon ® mu P yer

tax exemption cenlificaic.
3. DELAY IN DELIVERY — Seller is not to be accountable for delays in delivery cecasioned by acts of God, failure of its sup fiets to ship or deliver cn time, or olker circurascances beyond Seller's

Teaspnabie control. Factory shipment or delivery dates are the best estimates of or suppliers, ard in vo case shall Seller be Hable for any consequential or special damages arising from ary delay i shipment
elivery.

56. WARRANTIES - Sell that, ali seeds sold fi if scurity interest am will make available tc Buyer all iransferable warranties made to Seller by the manufactsrer of the goods. SELLER
SAKES WS OTHER EDR ESC OR Mp8 WARRANTIES, AND. CECRICALLY MARES NO IMELIED WARRANTIES OF MERCHANTASIEITY OR FITNESS FOR SURPOSE. URLESS

RUBPB REE AL ote IN WRITING AN AUTHORIZED REPRESENTATIVE SELLER, PRODUCTS SOLD HEREUNDER ARB NOT INTENDED FOR USE IN OR IN CONNECTION WITH A
i -

7. LIMITATION OF LIAB ¥ - Buyers Temedies under this contrast are subject te any limimtions contained in mormfacturer's terms and conditions to Seller, a copy of which, will be furnished upon
written request. Futthanvore, Seller's Uabinty shall be_bimited to elther repair or reolacemént of the goods or, refund of the pumhase price, all at Seller's option, amd im np case shali Seller be liable for
apecial or consequential damages. In addition, claims for shortages, other {css In TWansit, must be made in writing not more than’ five (5} days after receipt of shipment.

8. WALVER -, The failere of Seller to insist upon, the performance of any pf the terms or conditions of this contract or 1o exercise any right hereunder shall not be deemed to be a waiver of such terns,
conditions er rights in the future, nor shall # te deemed to be a waiver ‘of any other term, cordidon, or meht under mis contract. =~

$3. MODIFICATION OF TERMS AND CONDITIONS - No terns and conditions other than those stated herein, and no agreement or understanding, in any way purpeting to modify these terns

. rer or
conditicns, shall binding on Seller without the Sellér's wiitten consent. Any additional of different terms in the Bayer's”form are hereby deemed” to be material aileratiees and notice of cbjection to them
and rejection of them 15 hereby given.

i. REELS - When the Seller ships returnable reels, a reel deposit will be included in the invoice. The Buyer should contact the nearest Greybar service location to return reels.

il, | CERTIFICATION - We hereby certify that these, Ss Were Produced in compliance with ail applicable requirements of secuons 6, 7, and 12 of the Feir Labor Standards Act, as amended, and of
regulations and orders of the United States Deparunent of Labor issued under section i4 thereof.

Return this copy with your payment.
Case 09-10138-MFW Doc 1348-1 Filed 08/19/09 Page 5 of 23

Remit to : &

INVOICE

703-631-8600

PO BOX 403049 Reprint
ATLANTA GA 30384-3049 Invoice No: 938895841

lavoice Data: 04/62/2009

Account Number: 222839

Account Name: NORTEL GOVERMENT
Bili-To:

Ship-To:
NORTEL GOVERMENT SOLUTIONS, INC. ALS RITY ADMINISTRATION
12730 FAIR LAKES CIRCLE SOCIAL SECURITY ADMIN.
FAIRFAK VA 22033 PATRICK GOINS/NGS 703-219-1884
USA 9150 GUILFORD ROAD

COLUMBIA MD 27046

USA
Page 1 of 1
Order Number: POO9-0001
Del .Doc.#: |PRO # Routing Date Shipped |Shipped From F.O.B. |Rt. To
832493456 12291469036 1032350 UPS-GROUND 61/02/2009 LANHAM, MB PPD - Bill
Quantity | Catalog # / Desoription Unit Price / Unit | Amount
3 11294000 FLUKE NETWORKS, INC. 13.60 / i 40.80
NEED-LCK COMBO CRMP/PLIER
1 5260-15 KLEIN TOOLS INC 74.81 / t 74.31
45 CORDURA BALLISTIC NYLON 10-POCKET TO
Terms of Payment Sub Totah 115.61
Net 30 Days Freight: 6.57
As a condition of the sales agreement, a monthly Handling: 3.06
service charge of the lesser of 1-1/2% or the maximum | Tax: 6.94
permitted by law may be added to all accounts not paid} Total Due: 132.12
by met due date. Visa, MasterCard, American Express,
and Discover credit cards are accepted at point of
purchase only.

Tems and Conditions of saie:

lL. ACCEPTANCE OF ORDER: TERMINATION - Acceptance of any order is subject 19 credit. approval and accepiance of order by Seller and, when applicable, Seller's suppliers, if Buyer’s credit becomes
unsansfactory to Seller. Seller réserves the right to terminate upon nonce to Buyer ami without Jiabiltty ta Seller.

2, PRICES AND SHIPMENTS - Unless otherwise quoted, prices shall be those in effect at time of shipment which shall be made F.O.B. shipping point, prepaid and bill.
3. RETURN OF GOODS - Credit will be allowed for goods relumed with prior approval. A deduction will be made from credits issued 1 cover cost of handling.

4, TAXES - Prices shown do not include. gales or other taxes inaposed on the sale of woads. Taxes now or kereater imposed upon sales or shipments will be added to tha purchase price, Buyer agrees to
reimburse Seller for any such tax ar provide Seller wiin acceptable lax exemption certilicare.

5 DELAY IN DBLIVERY - Seller is notte he accountable for delays in delivery occasioned by acts of God, faflure of jis suppliers to slip or deliver on time, or other circumstances beyond Seller's
reasprpple control. Factory shipment cr ‘delivery dates aré the best .eshmnates of cur suppliers, wh in no case Shalt Seller be ae for any cmsequettial of special damages arising fom an delay im Shipment
or 1 .

6. WARRANTIES - Seller warrants that
MARES NO OTRES EPR Se OR
OTHERWISE AGREED IN WRITIN
NUCLEAR FACILITY.

7, LIMITATION OF LIABILITY - Buyer's remedies under this contract are subject to any limitations contained in Inanyfecturen $ terms and conditions io Seller, a copy of which, will be furnished upon
written request. Fucthenmore, Seller's liability shali be limited te either repair ‘or’ replacernent of the, goods. or. refund of the purchase price, ail at Seller's opticn, and in no case shall Seller be Hable ‘for
special of consequenia! damages. In addition’, claims for shorages. other than loss in transit, must ba made in writing net more ihan hive’) days alter receipt of shipment.

8. WAEVER -~ The failure of Seller to insist upon. the performances of any of the tevms or conditions of this contract or, to exercise: any right, hereunder shall rot be deemed 10 be a waiver ef such testas,
conditions or rights in the finure, nor shall i be deemed io be a waiver ‘of any other term, condingn, or right under Gis contract.

>. MODIFICATION OF TERMS AND CONDITIONS ~ No terms and conditions other zhan those stated herein, and no agreement of understanding, in any way purporting to modify these terms Or

conditions, shall ke binding on Se without the Seller's writen consent. Any aaditional or different lerns Tn he Buyer's form are hereby deamed to be Hhatetial alleratiohs and oon ‘Of objection to then
ari rejection of them is hereby given.
13. REELS - When the Seller ships returnable reels, a reel deposit will be included in the invoice. The Buyer shewld contact the nearest Graybar service location © tenn reels.

LL CERTIFICATION - We hereby certify that these goods were produced in compliance with all applicable requirerrems of sections 6, 7, and 12 of the Pair Labor Standards Act, 23 amended, ard of
reaulaiions and orders of the United States Déparnmert of Labor issied under section [4 thereof.

hat all onods sold are [ree of any security interest and will make available to Buyer all transferable wy, tieg made to Seller by the manufacturer of the scods, SELLER
IMPLIED W. ad SEER AND SPE Tes Cy MAKES NO IMBLIED WARRANTIES OF MERCHANPADILITY OR THES FOR PURPOSE. UNLESS”.
iG BY AN x THORIZED ASR SEAT ATIVE op SELLER, PRODUCTS SOLD HEREUND@R ARE NOT INTENDED HOR USE GN OR IN CONNECTION WITH A

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Case 09-10138-MFW Doc 1348-1 Filed 08/19/09 Page 6 of 23

Remit ta : &

INVOICE

fo 703-631-8600

PO BOX 403049 Reprint

ATLANTA GA 30384-3049 Invoice No: 938898949
invoice Date: 01/02/2009
Account Number: 222639
Account Name: NORTEL GOVERMENT

Bill-To: Ship-To:

NORTEL GOVERMENT SOLUTIONS, INC. SOCIAL SECURITY ADMINISTRATION

12730 FAIR LAKES CIRCLE SOCIAL SECURITY ADMIN

FAIRFAX VA 22033 :

USA PATRICK GOINS/NGS 703-219-1884

PATRICK GOINS/NGS 703-219-1884
9150 GUILFORD ROAD
COLUMBIA MD 21046

USA
Page 7 of 7
Order Number: POO9-0001
Del.Doc,#: |PRO # Routing Date Shipped |Shipped From F.O.8. |[Rt. To
832493012 128V38900354102319 UPS-GROUND 01/02/2009 ZONE-RICHMOND, VA PPD - Bill
Quantity | Catalog # / Description Unit Price / Unit | Amount
3. CLKIT THE SIEMON COMPANY : 135.94 / 1 407,82
CLIP_ON TOOL KIT
3__AT680 ALLEN TEL PRODUCTS INCORPORATED 38.72 / 1 1716.16
RJ#1 CRIMP TOOL RATCHET
3_.10230-100 FLUKE NETWORKS, INC. 23.84 / 1 71.52
IN-LINE ADPER 8/DTCH CRD
Terms of Payment Sub Total: 595.50
Net 30 Days Freight: 14.97
As a condition of the sales agreement, a monthly Handling: : 3.60
service charge of the lesser of 1-1/2% or the maximum | Tax: 35.73
permitted by law may be added to ai1 accounts not paid| Total Due: 649.14
by net due date. Visa, MasterCard, American Express,
and Discover credit cards are accepted at point of
purchase only,

Terms and Conditions of sale:

i. ACCEPTANCE OF QRDER; TERMINATION - Acceptance of any order is subject to oredit. approval and acceptance of order by Seller ard, wher applicable, Seller's suppliers. If Buyer's credit becomes
unsatisfactory to Seller, Seller réserves the. right 10 terroimate upon notice to Buyer and without Hiabiliry to Seller.

2. PRICES AND SHIPMENTS - Unless otherwise quoted, prices shall be those im effect at time of shipment which shall be made F.O.B, shipping point, prepaid and bill.
3. RETURN OF GOODS - Credit will te allowed for goods teturned with prior approval. A deduction will be made from credits issued to cover cost of handling,

4. TAXES - Prices shown do not include gales or other taxes imyposed am the sale of goods. ‘axes now or hereaffer imposed upon sales or shipments will be added to the purchase price, Buyer agrees (0
reimburse Seller for any such tax or provide Seller with aeceptable tax exemption certificate, Pe He Pn *

5. DELAY IN DELIVERY > Seller is not ta be accountable for delays in delivery oceasioned by acts of God, faihye of jts jupplicrs to ship of deliver on time, or other circumstances beyond Seller's

areas, comtral. Factory shipment or delivery dates are host estimates of our suppliers, and.in no case shail Seller be liable for any consequential or special damages arismg from any delay in shipment
or 1¥ .

6& WARRANTIES - Seller warranss that all a sold are free of any security interest and wil) make avail: Buyer le anties made to Seller by the manufucnurer of the goods, SELLER

MAKES NO. OLSER GRP Res OR MISLIES WARRANTIES, Ca SSRI ENETS NO ELIES VRE R AT ROBE MERCHONES BILTCE OR FITNESS COR PURFORS. Uarees

OTHERWISE AGRERD IN WRITING BY AN AQYHORIZED REFR ENTATIVE OF GELEER PRODUCTS SOLD HEREUMUES ARE NOT ATEN DER HOR GSE IADR IN CRRINGETION WITH A
UCLES -

7, LIMITATION OF LIABILITY - Buyer's remedies under this contract are subject to any limitations contained in mamifecturer’s terms and conditions to Seller, a copy of which will be fumished upon
written request. Furthermore, Seller's Tility shail be Tinuted to elther repair of replecereent oi ihe goods or refund of the purchase price, all at Seller's aptien, and Y ao case shall Seller be Hable for
special or consequential demages. in addition, clams for shortages, other lass mm dransit, must be made in writmg not more ghan five (5} days afer receip: of shipment,

8. WAIVER - The fatiure of Seller to insist upon, the performance of any of the temas or conditions of this contract or to exercise any right hereunder shall nor be deemed ta be a waiver of such terms,
conditions or rights in the fumre, nor shail it be deemed to be a waiver of any other erm, coadition, or tight under this conmacr,

2. MODIFICATION OF TERMS AND CONDITIONS - No terns and conditions other than those seated herein, and no agreement or understanding, In any way purporting to modify these

so . . . . u uN erns OF
conditions, shall be binding ‘os Seller without te Selier’s written coosent. Any additional er different terms in the Buyer's form ate berby deemed’ to be fnarerial’ alterations and notice of objection to them
and tejection of ihem is hereby stven.

12, REELS - When the Seller ships rerurnable zeels, a reel deposit will be included in the invoice. The Buyer shoold contact the nearest Graybar service location to rewm :zels.

fe, CERTIFICATION ~ We hereby certify that these soods were produced in compliance with ali appticable requirements of sections 6, 7, and 12 of the Fair Labor Standards Act, as amended, and of
regulations and orders af the United States Department of Labor issued under section T4 thereof.

Return this copy with your payment.
Case 09-10138-MFW Doc 1348-1 Filed 08/19/09 Page 7 of 23

Remit to : &

PO BOX 463049
ATLANTA GA 30384-3649

Bill-To:

NORTEL GOVERMENT SOLUTIONS, INC.
12730 FAIR LAKES CIRCLE

FAIRFAX VA 22033

USA

INVOICE

Reprint

cp pa mea

703-631-8609

Invoice No: 938898951

invoice Date: 01/02/2008
Account Number: 222639
Account Name: NORTEL GOVERMENT

Ship-Ts:

SOCIAL SECURITY ADMINISTRATION
SOCIAL SECURITY ADMIN,
PATRICK GOINS/NGS 763-219-1884
$156 GUILFORD ROAD
COLUMBIA MD 21046

USA

Page ? of 1
Order Number: POO9-0001
Del.Doc.#: |PRO # Routing Date Shipped |Shipped From F.O.B. {$Rt. To
832493077 122998420368323894 UPS-GROUND 01/02/2609 STERLING, VA PPD - Bill
Quantity | Catalog # / Description Unit Price / Unit | Amount
2 85078 KLEIN FOOLS INC 48.01 / 3 96.02
SCREWDRIVER SEY 8-PC, CUSHION-GRIP ASSO
3 J502-10  KEEIN TOOLS INC 20.58 / 1 61.74
JOURNEYMAN TM PUMP PLIERS 10
2 5200-15 KLEIN TOOLS INC 74.81 / i 149.82
15 CORDURA BALLISTIC NYLON 10-POCKET TO
Tarms of Payment Sub Total: 307.38
Net 30 Days Freight: 7.12
As a condition of the sales agreement, a monthly Handling: 3.00
service charge of the lesser of 1-1/2% or the maximum Tax: 18.45
permitted by law may be added to all accounts nor paid| Total Due: 335.96
by net due date. Visa, Mastercard, American Express,
and Discover credit cards are accepted at point of
purchase only.

Terms aad Conditions of sale:

t. ACCEPTANCE OF ORDER: TERMINATION - Acceptance of any order_is subject w credit, appra

val
unsatistactory to Seller, Seller réserves the right to terminate upon eetice to Buyer and wihout lability to Seller.
2. PRICES AND SHIPMENTS - Usiess otherwise quoted, prices shall be those in effect at time of shipment which shali be made F.O.B. shipping point, prepaid and bill.
3. RETURN OF GOODS - Credit will be allowed for goods returned with prior approval, A deduction will be made frore credlis Issued to cover cast of handling.

4. TAXES = Prices shown do not inchide sales or other taxes im

and acceprance of order by Seller and, when applicable, Seller's suppliers. If Buyer's credit becomes

d on the sale of goods, Taxes now or hereafter imposed upon sales or shipments will be added to the purchase price. Buyer agrees 1¢

reimburse Seer for any such tax or provide Seller wilh acceptable tax exemption certificaic.

5. DELAY IN DELIVERY - Seller is not.to be sccountable for delays in deliver casjoned by acts of God, failure of jts suppliers to ship or deliver on dime, or olker cucumstagces beyond, Seller's |
easona le conceal. Factory shipmenr or ae ivery dates are ‘he delays ing of Ot Suppers, ant iho case shall Seiler be lable for any 0 quential or special damages arismg from ay delay in shipment
livery,

& WARRANTIES ~ Seller warrants that ali goods sold are free of any securiny inn ¢ will make available 19, Buyer all jansférable warranties made to Seller by the manefeciurer of the goods. SELLER
MAKES NO WER eR EXPRESS GR RELIED WARRANTIES, ag SEE aa, MARES NG IMPLIED WARRANTIES OF MERCHANTABILITY OR Errness Fi PURPOSE, un
OTHERWISE AGREED IN WRITING RY AN AUTHORIZED

Le
E Ss BEREUNDE! NOT INTENDED FOR USE IN DR IN CoRINBE TION WITH A
SURE ME EAS EPRESENTATIVE OF SELLER, PRODUCTS SOLD ARE NOT i

7. LIMITATION_OF LIABILITY - Buyer's remedies under this contract are subject. t Jimitalions contained_in manufzcturer’s terms and conditions ta Sefler, a copy of which, will be fumished upon
writen Tequest, Furthermore, Seller's Tebulity Shall be limited to either repat or reslacement OF the Zoos cr refund of the purchase price, all at Seller's quien, and no case shall Seller be liable ‘tor
special or consequential damages. In addition, claims for shonages, ather foss In transit, must be made in writing not more thaw five (5) days after recerpi of shipment.

8. WAIVER - The failure pf Selfer to insist upon, the performance of any of the terms or conditions of this contrget or to exercise any right hereunder shall nor be deemed to be a waiver of such enms,
conditions or yiohts in the fnete, nor shall it ie deemed, te be a waiver Moe any oiher term, cordinen, OF Taht under this conact. y Me

5. MODIFICATION OF TERMS AND CONDITIONS - No.tetms and conditions other than those stated herein, and No agreement OF wmdlerstanding, in any way purporting to modify these terms or

ams 0
conditions. sta! inding on Seller without the Seller's written consent. Any additional or different mers mn Buyer's form ate bereby dee: to be Material alterations and toiice of cbjection to them
and rejection of them is hereby given.

14, REELS - When the Seller ships retumnable reels, a reel deposit will be included in the invoice. The Buyer should conmaet the nearest Graybar service focarian to Tetum teels,

li, CERTIFICATION - We hereby certify war these, gogds were produced in compliance with all Hezble requirements of sections 6, 7, atl 12 of the Fair Lebor Standards Act, as amended, and of
Tegulations and orders of the Uniled ‘Ses Beast of Labor issued ander section 14 thereof. ap a

Return this copy with your payment.
Case 09-10138-MFW Doc 1348-1 Filed 08/19/09 Page 8 of 23

Remit to :

INVOICE

7 ts 703-632-8600
PO BOX 408049 Reprint
ATLANTA GA 30384-3049 Invoice No: $38899950
Inveice Gate: 01/02/2009
Account Number: 222629
Account Narte: NORTEL GOVERMENT
Bill-To: Ship-To:
ora te SOVERMENT. eaete NS, INC. SOCIAL SECURITY ADMINISTRATION
FAIREAX VA 99083 7 SOCIAL SECURITY ADMIN.
USA PATRICK GOINSANGS 763-219-1884

PATRICK GOINS/NGS 703-219-1884
$150 GUILFORD ROAD
COLUMBIA MD 21046

USA
Page i of 2
Order Number: PGO9-0001
Del.Doc.#: |PRO # Routing Date Shipped |Shipped From F.O.B. |Rt. Te
832493098 1234428X0307906268 UPS-GROUND 01/02/2009 ZONE-AUSTELL,GA PPD - Bill
Quantity | Catalog # / Description Unit Price / Unit | Amount
3 FLUKE-117 FLUKE ELECTRONICS CORP. 164.42 } 1 493.26
ELECTRICIANS MULTIMETER
Terms of Payment Sub Total: 493.26
Net 30 Days Freight: 6.26
As a condition of the gales agreement, a monthly Handling: 3.00
service charge of the lesser of 1-1/2% or the maximum | Tax: 23.60
permitted by law may be added te all accounts not paid] Total Due: 532.12
by net due date. Visa, MasterCard, American Express,
and Discover credit cards are accepted at point of
purchase only.

Terms and Conditions of sale:

i. ACCEPTANCE OF ORDER; TERMINATION - Acceptance of any order_is subject to credit approval and acceptance of order by Seller and, when appliceble, Seller's suppliers. [Ff Buyer's crediz becomes
unsarisiactory to Seller, Selier reserves the right te tenmiate upori aofice te Boyer and wahcut ity Seller,

2. PRICES AND SHIPMENTS - Unless otherwise quoted, prices shall be those in effect at time of shipment which shall be made F.O.B. shipping poim. orepaid and bill.
3. RETURN OF GOODS - Creciz will be allowed for goods returned with prior approval. A deduction will be made from credits issued to cover cost of handling.

4. TAXES - Prices shown do not include sales or other taxes imposed on the sale of goods. Taxes now or hereafter imposed upon sales or shipruents will be added te the purchase price. Buyer agrees 10
reimousse Seller tor any such tax or provide Seller with acceptable tax exemption certificate.

5. DELAY IN DELIVERY - Seller is not to be accountable for delays in delivery occasioned by ects of God. failure af its pupplicrs to ship or deliver on time, or other circumstances beyond Seller's
reasonable contol Factory shipment or delivery cates are the best estanates of Or suppliers, and in to case shall Seller be liable Jor any Consequential or special damages arising from any delay in shipment
or delivery. - .

6 WARRANTIES - Seller warr that, all_ goods sold are free of amy security interest and will make available io Buyer @li transferable warranties made fo Seller by the manufaerwzer of the snods, SELLER
MAKES NO OTHER MPR ESE OR iM J WA BAN TIES ND SPECIFICALLY MAKES NO IMPLIED W, NES OF MERCRANTABILITY OR FITNESS FOR PURPOSE. URLE: S

gh Pete ARE iN Pend ay ee aOR DR ‘PRESENTA TIVE OF SELLER, PRODUCTS SOLD HEREUNDER ARE NOT INTENDED FOR USE IN OR IN CONNECTION WITH A
i .

7. LIMITATION OF LIABILITY - Boyer” i i i Hmitati ai i Fa "5 and sondisions to Seller, ac: of which will be forn
rien tequest, Pasthermare, “Seler’s Pey remedies, ier {hs GOntract arg subject to any Himilations contained in _reanufacnier's rerms opy

ished upor
it b i Tiled 16 ellher tepals or replacemént of the goods or refend of the purchase price, alt at Seller's option, and in mo case shall Seller be liaote em
special or consequental damages, In addinon, claims for shortages, other than loss in transit, must be made im writing not more thar 45) days after receipt of shipment.
3, WAIVER - The failure of Seller ro insist upo:

vA nthe performance of any of the terms or conditions of this commact or to exercise any right hereunder shail nor be deemed to be a waiver of such teenies,
conditions or rights in the fuure, nor shai it be deemed to be a waiver of any other term, condition, or nght under this contract.

9. MODIFICATION OF TERMS AND CONDITIONS - No terms and conditions other than these stated herein, and na aeyeement or understanding, in any wa ing to modify these terms or
conditions, shall be binding om Seller withour the Seller's written consent. Any additional or different terms in the Buyer's form are hereby deamed' io be mater’ alorarids and nowce of objection io them
and rejection of them is Hereby given.

(a.

REELS - When the Seller ships retumable reels, 2 reel deposit will be included in the invoice. The Buyer should contact the nearest Graybar service location to return reels.

Il. CERTIFICATION - We perey certify that these goods were produced in compliance with all applicable recuirements of sections 6, 7, and 12 of the Fair Labor Standards Act, as amended, and of
regulations and orders of the United States Départment of hor issued wer section 1 thereat

Return this copy with your payment.
Case 09-10138-MFW Doc 1348-1 Filed 08/19/09 Page 9 of 23

Remit to :

INVOICE

> 703-631-860

PO BOX 403049 Reprint
ATLANTA GA 30384-3049 Invoice No: 938895840
inveice Date: 01/02/2003

Account Number: 222639
Account Name: NORTEL GOVERMENT

Bill-To: Ship-To:

NORTEL GOVERMENT SOLUTIONS, INC. 5 ‘ ECURI ADMINISTRATION
12730 FAIR LAKES CIRCLE SOSIAL SECURITY ADMIN.

ART AX VA 22033 PATRICK GOINS/NGS 703-279-1884

$150 GUILFORD ROAD
COLUMBIA MD 21046

USA
Page 1 of 7

Order Number: POG9-0001
Del .Doc.#: | PRO #. Routing Date Shipped |Shipped From F.0.B. |RE. To
932493118 122104160358511037 UPS-GROUND 01/02/2009 CHARLOTTE, NC PPD - Bill
Quantity | Catalog # / Description Unit Price / Unit | Amount

1 85078 KLEIN TOOLS INC 48.01 / i 48.01

SCREWDRIVER SET 8-PC. CUSHION-GRIP ASSO

Terms of Payment Sub Totai: 48.01
Net. 30 Days Freight: 5.87
AS a condition of the sales agreement, a monthly Handling: 3.00
service charge of the lesser of 1-1/2% or the maximum Tax: ‘ 2.89
permitted by law may be added to all accounts not paid| Total Due: 59.77

by net due date. Visa, MasterCard, American Express,
and Discover credit cards are accepted at point of
purchase only.

Terms and Conditions of sale:

1, ACCEPTANCE OF ORDER: TERMINATION - Acceptance of any order is subject to credit approva! and eccepiance of order by Seller and, when appticable, Seller's suppliers. if Buyer's credit becomes
unsatisiectory to Sefer, Seiler TESETVES the right to terminate upon notice Buyer and wathout iatany to Seller. P ¥ Pe PP ms

2. PRICES AND SHIPMENTS = Unless otherwise quoted, prices shall be those in effect at time of shipmert which shall be made F,0.B. shipping point, prepaid and bill.
3. RETURN OF GOODS - Credit wilt be allowed for goods reramed with prior approval. A deduction will be made from credits issued to cover cost of handling.

4, TAXES ~ Prices shown do not include sales or other taxes imposed on the sale of goods. Taxes now or hereafier imposed upon sales or shipments will be added to the purchase price. Ruyer agrees to
reimburse Seller for any such tax or provide Seller with acceprable tax exemption certifteate,

5. DELAY IN DELIVERY - Seller is notte be accountable for delays in delivery gocasloned by acts of God, faiiure of its fuppliegs to ship ot deliver on time, or other circumstances beyomd| Seller's

reasonable contro! Factory shipment or delivery dates are the best estimates of ouir suppliers, and in no case shall Seller be Hable for any consequential or special damages arising from any delay in shipment
or delivery,

& WARRANTIES - interest and wi i aly ferabh ies mad Seller by th mak: if the _, SELLER
M Seller sranramns, tht, By eee sold are free of an ere will make available ig Baye tansferabie warrantics ie 20 Seller vf 2 Tay agNey cif he goats.

securis
MARES NO OTHER EXPRESS ANTIBES, AND SPECIFICALLY MAKES NO IMPLIED NTIES OF MERCRAN ELLY O8 FITNESS
RE Hawise AGREED IN WRITING BY AN kor ORIZED REPRESENTATIVE OF SELLER, PRODUCTS SOLD HEREUNDER ARE ROP R Abe ESR USE IN OR TN CONNECTION WITH A

7. LIMITATION OF LEABILITY - Buyer's remedics under this contract are subject t limitations contained in manufacturer's terms and conditions to Seller, a copy of which will be fumished upon
writen request. Furthermore, Sellers Hablity shall be. Bmited to either rep of replacement OF the gcods cr, refund of the purchase price, all at Seller's option, and +P no case shall Selier be liable Tor
special or consequential damages. in additien, claims for shortages, ather than toss ‘im transit, must b& made in writing not meore than five (4) days after receipt of shipment.

8. WAIVER - The failure of Seller to insist ypon, the performance of any of the terms or conditions of this contract or, to exercise any right hereunder shall nor be deemed to be a waiver of such terms,
conditions or rights in the funure, nor bir be deemed ig be a waiver of any other term, condition, or yight under this contract.

5, MODIFI ATION OF TERMS AND CONDITIONS - No terms and conditions other than jhose stated herein, and no agreement or understanding, in any way pu ing to modify these terns

y terms or
condinons, shall inding on Seller withour the Seller's written consent. Any additional or diferent terms in the Buyer's torre are hereby deemed” to be traseria! alterations and notice of ohjecrion ta them
and rejection of them ts bereby given.

tO. REELS - When ihe Seller ships returnable reels, 2 reel deposit will be included in the invoice. The Buyer should contact the ‘nearest Graybar service iecation fa return reels.

H. | CERTIFICATION - We. hereby. certify that these is were produced in.compliance with all applicable requirements of sections.6, 7, and 12 of the Fair Labor Standards Act, as amended, and of
regulations and orders of the ie hereby, ge iy that tk of Labor issued: ander section 14 thereof. *P . ,

Return this copy with your payment.
Case 09-10138-MFW Doc 1348-1 Filed 08/19/09 Page 10 of 23

Remit to:

INVOICE

703~631-8600

PO BOX 403049 Reprint

ATLANTA GA 30384-3049 invoice No: 938895841

Inveice Date: OV/02/2009
Account Number: . 222639
Account Name: NORTEL GOVERMENT

Bili-To: Ship-To:

NORTEL GOVERMENT SOLUTIONS, INC. SOCIAL SECURITY ADMINISTRATION

i2730 FAIR LAKES CIRCLE SOCIAL SECURITY ADMIN.

ue FAX VA 22033 PATRICK GOINS/NGS 703-219-1884

A 315G GUILFORD ROAD
COLUMBIA MD 21046
USA
Page 7 of 1
Order Number: POO8-0001 |
Del .poc.#: | PRO # Routing Date Shipped {Shipped From F.O.B. |Rt. To
832493495 1Z29117690361032350 UPS-GROUND 01/02/2009 LANHAM, MD PPD - Bill
Quantity | Catalog # / Description Unit Price / Unit Amount
3. 11294000 FLUKE NETWORKS, INC. 13.60 / 1 40.80
NEED-LCK COMBO CRMP/PLIER
1 5200-15 KLEIN TOOLS JNC 7481 / 1 74.81
15 CORDURA BALLISTIC NYLON 10-POCKET TFC

Terms of Payment ‘ Sub Total: 115.64
Net 30 Days Freight: 6.57
As a condition of the sales agreement, a monthly Handling: 3.00
sexvice charge of the lesser of 1-1/2% of the maximum j] Tax: 6.94
permitted by law may be added to all accounts not paid] Total Due: 132.12
by net due date. Vise, MasterCard, American Express,

and Discover credit cards are accepred at point of

purchase only.

Terms and Conditions of sale:

1. ACCEPTANCE OF ORDER; TERMINATION — Acceptance af any order is subject to credit approval and acceptance of order by Sellers and. when applicable, Seller's suppliers. If Buyer's credit decomes
unsaiisfeclory ta Seiler, Seller reserves the sight to terminate upon notice to Buyer and without lability ta Seller,

2. PRICES AND SHIPMENTS - Unless otherwise quoted, prices shai be those in effect at time of shipmert which shail be made ¥.0.B. shipping point, prepaid and bill.
3. RETURN OF GOODS ~ Credit will be allowed for goods returned with prior approval, A deduction will be mads from credits issued to cover cost of handling.

4. TAXES - Prises shown do not include, sales or other taxes imposed on the Sale of, goods, Taxes now or hereafit imposed upon sales or shipments will be added to the purchase price. Buyer agrees 19
reimburse Seller for any such tax or provide Seller with acceptable tax exemption certificate.

3, DELAY IN DELIVERY - Seller is not,ip be accountable for delays in delivery gccasioned by acis of God, frityre, of is jee

reasonable comtrel. Factory shipment or delivery dates are the best estimates of oir suppliers in no case shail

Hers to ship or deliver on time, or other circumstances beyond Seiler‘s
or delivery. *

fe for any consequential or spectal damages arising from arly delay in shipment

§, WARRANTIES - Sell arrans that all soxis sold fi it ity interest, and will mak ilable to Buyer ali irinsferable warranties made to Seller by the manufacturer of the goods, SELLER
MAKES NO OTHER EXPRESS OR IMPLIED WARRANTICS, AND SPECIFICALLY MARES NO IMPLIED WARRANTIES OF MERCH PUR

ANTABILITY OR FITNESS FOR POSE. UNLESS
QEABR WISE AGREED IN WRITING BY AN AUTHORIZED REPRESENTATIVE OF SELLER, PRODUCTS SOLD HEREUNDER ARE NOT INTENDED FOR USE IN OR IN CONNECTION WITH A
;

7. LIMITATION OF LIABILITY - Buyer's remedies under this contract are subject to any limitations contained in manufacturer's tems and conditigns to Seller, a copy of which will be furnished upow
written request. Furthermore, Sedler's Tistlity sail he, limited to either repal or vepleceramnt or he Boods or ag m ranulo purchase nce, all al Sellers option, and ey no case shall Seller be hable for
Special or consequential damages. In addition, claims for shortages, other than Joss in Transit, mst 68 made in writing not more than five (3) days after recely

pt ef shipment.
$. WAIVER - The failure of Selter co Insist upon, the performance of any of the terms or conditions of this contract or to exercise any right hereunder shall nor be deemed to be a waiver of sach terms,
conditions or rights in the future, nor shall tt be deemed 10 be 2 waiver“of any other term, condition, or right under this contract.

9. MODIFICATION OF TERMS AND CONDITIONS + No. t and conditions other than the tated herei 1d i tor understanding, in am ring to modify these ierms or
conditions, Small & binding on Safer Ditheet the Sevler’s wafitten COMSERE, ANY aedinonal or differear terms in Be Buyer's form are ‘hereby ecmed to be Hratenal alienation amd nofice of objection ia ther
and resection em is hereby given. :

1B. REELS - Whe the Seller ships retumabie reels, a teel deposit will be included in the invaice. The Buyer should contact the nearest Graybar service location te return reels.

Ul. | CERTIFICATION - We pepeky certify that these. goods wers produced in compliance with all applicable requirements of sections 6, 7, and 12 of the Fair Labor Standards Act. as amended, and of
regulations and orders of the United States Déparimem of Labor issued under section 14 thereof.

Return this copy with your payment.
Case 09-10138-MFW Doc 1348-1 Filed 08/19/09 Page 11 of 23

Fiernit to : &

INVOICE

703-631-8606

PO BOX 402049 Reprint
ATLANTA GA 30384-3049 Invoice No: 938858945

Invoice Date: 01/02/2009

Account Number: 222639

Account Names: NORTEL GOVERMENT
Bill-Ta: Shin-To:
NORTEL GOVERMENT SOLUTIONS, INC. ,
72730 FAIR LAKES CIRCLE Coen SECURITY ADMIN RATION
FAIRFAX VA 22033 PATRICK GCINS/NGS 703-219-1884

PATRICK GOINS/NGS 703-219-1884
9150 GUILFORD ROAD
COLUMBIA MD 21046

USA
Page 1 of 17
| Order Number: PGOS-0001
Del.Doc.#: |PRO # Routing ' |Date Shipped |Shipped From F.O.B. |Rt. To
832493012 1Z8V38900354102319 _| -UPS-GROUND 01/62/2008 ZONE-RICHMOND, VA PPD - Bill
Quantity | Catalog # / Deseription Unit Price / Unit | Amount
3. CLKIT THE SIEMON COMPANY : 135.94 / 1 407.82
CLIP GN TGOL KIT
3  AT68O ALLEN TEL PRODUCTS INCORPORATED 33.72 / i 116.16
RJ11 CRIMP TOOL RATCHET .
3 10230-100 FLUKE NETWORKS, INC. 23.84 / i 71.52
IN-LINE ADPTR &8/DTCH CRD
Terms of Payment Sub Total: 595.50
Net 30 Days Freight: . 14.91
As a condition of the sales agreement, a monthly Handling: 3.00
service charge of the lesser of 1-1/2% or the maximum | Tax: 35.73
permitted by law may be added to all accounts not paid} Total Due: 849.14
by net due date. Visa, MasterCard, American Express,
and Discover credit cards are accepted at point of
purchase only.

Terms and Conditions of sale:

1, ACCEPTANCE OF ORDER: TERMINATION - Acceptance af order_is subject to credit approval and geceptance of order by Seller and, when appticable, Seller's suppliers. {7 Buyer's credit becomes
inst Geet ry to Seller, Seller teserves the might to venminbae upon nonce to Bayer and without tiaiey to Seller. m ¥ PP P

2, PRICES AND SHIPMENTS - Unless otherwise quoted. prices shali be those in effect at time of shipment which shall be made F.O.B. shipping point, prepaid and bill.
3. RETURN OF GOODS - Credit wili be allowed for goods r2tumed with prior approval, A deduction will be wade from credits issued to cover cost of bandling.

4. TAXES - Prices shown do not include sales or other axes imposed on the sale of goods, Taxes now or hereafter imposed upon sales or shipments will be added to the purchase price. Buyer agrees to
Teimburse Seller for any such tax or provide Seller with acceptable iax exemption certificate. :

5. DELAY iN DELIVERY + Seller is ph io be accountable for delays in delivery geeasioned by acts of God, failure of its suppliers to ship or deliver on time, o7 other circumstances beyord Seller's
2

Feasguani control. Factory shipment or delivery dates are the best estimates of our suppliers, and m no case Shall Seller be liable fer any consequential or special damages arising from any daiay in shipment
1 .

fi ACR UR at acer agp AE ape fis. fay cae rs wk RRP WR hE TRS BIT SRE HERS RRR LAT
" ‘ 4 5 i .
Caer e ek AGREE IN WRITING BY AN AUTHOREZED AER OE OF SELLER, PRODUCTS SOLD HEREUNDER ARE NOT INTENDED FOR USE iN OR IN CONNECTION WITH A

7. LIMITATION_OF LIABILITY - Buyer’ edies under this correct are subject to any limitations contained in menwiachwer's terms and, conditions to Seller, a copy of which will be furnished upon
FT eee eee eee ee eT ee eee ee eee cement OF ihe seeds or aefund of ine purchase price, all at galier's cptiog’ and tno case aball Seller be Tiahle tor
special or consequential damages. In addition, claims for shortages, oles Gan Tass in transit, must be made in writing not mite than five (3) days after receipt of shipment.

8. WAIVER - The failure of Seller to insist upon the performance of of the terms or conditions of this contract or to exercise any tight hereunder shalt not be deemed w be a waiver of such terms,
conditions or rights in the finite, wor shall it ead is oe a waiver of any ofher term, condition, or Teht under this comract. y sgh

% MODIFICATION, OF TERMS AND CONDITIONS - No terms and conditions other than chose stated heyein, and no, agreement or understanding, in an Furports % to modify these 1crnms of
conditions, shail be binding on Seller without the Seller’s written consent. hay aeditional Or different terns th lhe Buyer's om are hereby deemed” to be Dalenal feracrs and caves of objertion to them

rejection of ther is hereby given. . .
10. REELS - When the Seller ships rerumeble reels, 2 reel deposit will be included in the invoice. The Buyer should coatact the nearest Graybar’ service location to return reels,

it, CERTIFICATION - We hereby cenify that these, goods were produced i: compliance with all applicable requirements of sections 6, 7, and 12 of the Fair Labor Standards Aci, as amended, avd of
regulations and orders of the United Slates Department of Labor issued wider section [4 itereof,

Return this copy with your payment.
Case 09-10138-MFW Doc 1348-1 Filed 08/19/09 Page 12 of 23

Remit to : &

INVOICE
703-631-8600
PO BOX 403049 Reprint
ATLANTA GA 30384-3049 Tnvoice Neo: 938898951
Invoice Date: 01/02/2003
Account Number: 222639
Account Name: NORTEL GOVERMENT
Bill-To: : Ship-To:
NORTEL GOVERMENT SOLUTIONS, INC. SOCIAL SECURITY ADMINISTRATION
12730 FAIR LAKES CIRCLE SOCIAL SECURITY ADMIN.
FAIRFAX VA 22033 PATRICK GOINS/NGS 703-219-1884
USA 8150 GUILFORD ROAD
COLUMBIA MD 21048
USA
Page + of i
[ Order Number: POO9-0001
Del.Doc.#: [PRO # Routing Date Shipped |Shipped From F.O.8. |[Rt. To
832493977 122998420368323394 UPS-GROUND 01/02/2009 STERLING, VA PPD - Bill
Quantity | Cataloq # / Description Unit Price / Unit Amount
2 85078 KLEIN TOOLS INC 48.01 / 1 96.02
SCREWDRIVER SET 8-PC. CUSHION-GRIP_ ASSO
&  J502-10 KLEIN TOOLS INC 20.58 / 1 61.74
JQURNEYMAN TM PUMP PLIERS 10
2 5200-15 KLEIN TOOLS INC 74.84 / 1 149.62
15 EGRDURA BALLISTIC NYLON _10-POCKET TO
Terms of Payment Sub Total: 307.38
Het 30 Days Freight: : 7.13
AS a condition of the sales agreement, a monthly Handling: 3.00
service charge of the lesser of 1-1/2% or the maximum | Tax: 38.45
permitted by law may be added to all accounts not paid] Total Bue: 335.96
by net due date, Visa, MasterCard, American Express,
and Discover credit cards are accepted at point of
purchase only.

Terms and Conditions of sale:

1, ACCEPTANCE OF ORDER: TERMINATION + Acceprance of any order_is subject tq credit approval and acceptance of order by Seller and, when applicable. Seller's supptiers. Uf Buyer's credit becomes
EnSOUBLGELOTy UD Seliee, Sellar” eatiee Tis Tight io KML pon warioe te Buyer ad witsout libhig  Salee ¥ ee PP y

2. PRICES AND SHIPMENTS - Unless otherwise quoted. prices shall be those in effect at time of shipment which shall be made F,O.B. shipping point, prepaid and bill.
3. RETURN OF GOODS ~ Credit will be allowed for goods retumed with prior approval. A deduction -will be mad from credits issned ts cover cost of handling.

4. TAXES + Prices shown do not include sales or other taxes imposed on the sale of goods, Taxes now or hereafter imposed upon sales or shipments will be added to the pruchuse price. Buyer agrees to
réimburse Seller for any such tax or provide Seller with acceptable tax exemption certificate.

5. DELAY IN DELIVERY - Seller is not to be acceumidble for delays in delivery occasioned by acts of God, failure of ks iers to ship or deliver on ti oc other circumstances beyond Seller's .
reasppable conrol. Factory shipment or elivery dates are the Dest estimates “of our suppliers, and in no case shail Seller be am for any 2 quentak or spachl d: arising from. ay delay in shipment

or dehvery,
WARRANTIES - Seller warrants that ali irv interest and wil] make available 1 ail yransferabl ties. made to Seller by the manpfacrarer of the goods,, SELLER
MARR NO OTHER ERPR SSS OR HAL IES WAMR ANTES, ANY SECM CATES UE Pie THE ERUTRS QERRA NTS Be MER CHAN TABIC TY BR FITNESS TOR PURPOSE, URL ESS

SE.
OTHER WISE SED IN WRITING BY AN AUTHORIZED REPRESENTATIVE GF SELLER, PRODDCTS SOLD HEREUNDER ARE NOT INTENDED FOR USE IN OR IN CONNECTION WITH A
NUCLEAR Rat i -

7. LIMITATION OF LIABILITY - Buyer’ dies under this contract Ibject lirgati niained in marufaccrer's wrms and conditions to Seller, a copy of which will be furnished upon
writen request. Furthermore, Siler's Lsbility shall be limited 10 ether repair or replacement of the, goods or, refund of the purchase varies, all at Seler's oplicn, and hae cage shall Seller ba liable Toe
special or consequential damages, In addition, claims for shortages, other loss if wansit, must bé made in wrising nol more than ‘five (5) days after receipt of shipment.

8. WAIVER - The failure of Sellar ta insist u the performance of any of the ferns or conditions of this comtract or to exercise any tight hereunder shall not be deented ta be a waiver of such terms,
cornlitions of rights B the future, nor shall it Ye deemed. fo be a Swaiver of any oiber term, condition, of right under this camract. y Ne

9. MODIFICATION OF TERMS AND CONDITIONS - No terms and-cordirions other than shose stated heyein, and no agreement or understanding, in any way purporting to modify these terms or
conghtions, shall be binding ap ga without the Seller's written consent. Any additional or different terms D the Buyer's form are heveby ceemed ta be Phaaral aleratiogs and ay of objection to them
and Tejecnion oO: Ne 1S TeDy Sven,

iG. REELS - When the Seller ships rewrnable reels, a reel deposit will be included in the invoice. The Buyer should contect the nearest Graybar service location to remem reels.

li, | CERTIFICATION - We hereby cerlify that these goods were produced in compliance with all applicable requirements of sections 6 7, atd 12 of the Fair Labor Standards Act, as amended, and of
Tegulations and orders of the United Staes Déparmment of rr fsgued under section [4 thereoi.

Return this copy with your payment.
Case 09-10138-MFW Doc 1348-1 Filed 08/19/09 Page 13 of 23

Remit to:

INVOICE

716-565-5300

12444 COLLECTIONS CENTER DRIVE Reprint lee N 939951198
CHICAGO IL 60693-2444 Invoice No:
Inveice Date: 01/06/2008
Account Number. 134413
Account Name: NGRTEL NETWORKS
NORTEL NETWORKS Ship. To:
E COMPUTER SCIENCE CORP
ACCOUNTS PAYABLE ATTN: TIM SMITH 703-398-3459
300 CANAL VIEW BLVD. BUILDING B
USA

3170 FAIRVIEW PARK BLVD
FALLS CHURCH VA 22042

USA
Page 1 of #7
Order Number: 4320039150-76 181141/AA43608/THOMSON
pbel.Doc.#: |PRO # Routing Date Shipped | Shipped From F.O.B. |RE. To
832545593 1234428X0307919629 UPS-GROUND 91/06/2009 ZONE-AUSTELL,GA S/P_- FIA
Quantity | Catalog # / Description Unit Price / Unit | Amount
16 25-3-CX-15-GY — ALLEN TEL PRODUCTS INCORPORATED 17.40 / j 278.40
25PAIR TELCO F-BL 15FT
Terms of Payment Sub Total: 278.40
Net 30 Days Freight: 0.06
As a condition of the sales agreement, a monthly Handling: 0.00
service charge of the lesser of 1-1/2% or the maximum | Tax: 9.00
permitted by law may be added to all accounts not paid| Total Due: 278.40
by net due date, Visa, MasterCard, American Express,
and Discover credit cards are accepted at point of
purchase only. -

Terms and Condicions of sale:

t. ACCEPTANCE OF ORDER; TERMINATION - Acceptance of any arder_is subject t czedit approval and acceptance of order by Seller and, when applicable, Seliex’s suppliers. If Buyer's credit becomes
unsatisfactory to Seller, Seller réserves the right (0 terminafe upon notice to Buyer aad withcur liability to Seller.

2. PRICES AND SSNIPMENTS - Unless otherwise quoted, prices shall be those in effect at time of shipment which shail be made F.0.B. shipping point, prepaid and bill.
3. RETURN OF GOODS - Credit will o¢ allowed for goods remmmed with-prior approval. A deduction will be made from credits issued to cover cost of handling.

4. TAXES - Prices shown do tot include sales or other taxes ignposed on the sale of goods. Taxes now or hereafter imposed upon sales or shipments will be added to the purchase price. Buyer agrees to
reimburse Seller far any such tax or provide Seller with acceprable tax exemption certificate.

4, DELAY IN DELIVERY - Seller is not ta be accountable for delays in delivery cceasiored by acts of Ged, failure of its fuppliers yo ship of deliver on Sime, or other circumstances beyond. Selle:
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ler’s |
reasonable comrol. Factory shipment or delivery dates are the best estimates of our suppliers, and in no case Shall Seller be for any consequential or special damages arising from any delay in shipment
or defiwery,

6, WARRANTIES - Sell all_ goods. sol free of ity interest and will mak i to B all transferable anties made to Seller by the manofaciurer of the goods, SELLER
G, WARRANTIES = Sele, wecrarus, Tall grote SUG Srey fine Of any spear Semcresy i Pa RE WARRANTIES ssproble Maranies Baee i? OB ErtNnss FOR PURPOSE, URL ESS

K
OERFE MISE AGREED iN WRITING BY AN AUTHORIZED REPRESENTATIVE OF SELLER, PRODUCTS 501 REUNDER ARE NOY INTENDED FOR USE IN OR IN CONNECTION WITH A

7. LIMITATION, OF LIABILITY - Buyer’ dies wnder this contract are subject 19 any limitations contained in manufacnirer's werms and conditions to Seller, a copy of which will be furnished upon
writen request. Furthermore, Seller's Tbtlity shall be YFiniled to either repair OF replacement of the goods or returtd oY the Purchase price, alt at sclier's Sption, and fh ng case shail Seller be liable ‘tor
special or consequential damages. In addition, claims for shemages, other than loss in transit, must be made im waiting no? more than tive (3) days alter receipt of shipment.

8 WAIVER — The faiture of Seller w insist upon, the performance of any of the terms or candilons of this contract or io execelse any right hereunder shall not be deemed to be a walver of such terms,
conditions or rights in the future, nor shall it be deemed to be a waiver’of any other term, condition, or right under this comract.

a. MODIFICATION, OF TERMS ANDO CONDITIONS - No.terms and conditions other than those stated herein, and no_agreemem oy understanding, in any way purporting to modify these terms

ferms or
conditions, shall be binding on SeHer without the Selfec's written consenl. Any additionat of different terms im the Buyer's form ate hereby deemed ta be Puatertel alterations and notice of objection to them
ard vejection of them: is hereby given.
10.

REELS - When the Seller ships retumable reels, a reel deposit will be ineluded in the invoice. The Buyer should contact the nearest Graybar service location te rerum reels.

. | CERTIFICATION » We hereby certify that these goods were Proiced in compliance with all eppHcable requirements of sections 6, 7, and 12 of the Fair Labor Standards Act, as amended, and of
regularions and orders of the United Stites Deparment of Labor issued under section 14 therecf.

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Case 09-10138-MFW Doc 1348-1 Filed 08/19/09 Page 14 of 23

Remit to :

INVOICE

12444 COLLECTIONS CENTER DRIVE Reprint

CHICAGO IL 60693-2444 Invoice No: 938955822
invoice Date: 01/06/2009
Account Number: 134413
Account Name NORTEL NETWORKS

Bill-To: Ship-To:

NORTEL NETWORKS

SE SOR NORTEL 4820030750

300 CANAL VIEW BLVD. NORTEL-4320039150

ico NY 14623 NORTEL-43200391 50

300 CANAL VIEW BLVD
ROCHESTER NY 14623

USA
Page 1 of 1
Order Number: 4320039150-75 AA40143/HARTTER |
Del .Doc.#: | PRO # Routing Date Shipped |Shipped From F.O.B. |[Rt. To
832541867 12Z6A3R960309224942 UPS-GROUND 01/06/2009 ZONE- S/P - FIA
YOQUNGSTOWN,OH
Quantity | Catalog # / Description . Unit Price / Unit | Amount

10 L-8100-07-W LYNN ELECTRONICS CORP 1.85 / j 18.56
FUL-MOD 6C LNCRD 7FT 85

Terms of Payment ‘| Sub Total: 18,50
Net 30 Days Freight & Handiing: 0.00
As a condition of the sales agreement, a monthly

service charge of the tesser of 1-1/2% or the maximum Tax: 0.06
permitted by law may be added to all accounts not paid} Total Due: 18.50

by net due date. Visa, HasterCard, American Express.
and Discover credit cards are accepted at point of
purchase only.

Terms and Conditions of safe:

1, ACCEPTANCE OF ORDER: TERMINATION - Accept: f wder_is subject to credit at and acceptance of onder by Seller when applicable, Seller's suppliers. If Buyer's credit becomes
unsatisfacrory to Sut, Seller reserves the eS camgeprance of ma toe to Buyer ied withoat tality i Seller. P y and, PP P 7

2, PRICES AND SHIPMENTS - Unless otherwise quoted, prices shall be those in effect at time of shipmem which shall be made F.O.B. sdipping point. prepaid and biz,

3, RETURN: OF GOODS - Credit will be allowed for goods returned with prior approval. A deduction will be made fom credits issued to cover cost of handling.

4. TAXES ~ Prices shown do not include, sales or ather taxes imposed on the sale of goods, Taxes now or hereafter imposed upon sales or shipments will be added to the purchase price. Buyey agrees to
relimburse Seller for any such tax ar prowide Seller with acceptable tax exernplion certiicate.

5, DELAY IN DELIVERY - Seller is not.to be accountable for delays in delivery occasioned by acts of God, Saiture of its fupplicys to ship or deliver on time, or, other clrcumstagees beyond, Seller's
Ié for

Teasonabie camrol. Factory shipment or delivery dates are the best estimates of our suppliers. and in ne case shail Seller be Ii any Consequential or specie! damages arising [rom any delay in shipment
avery,

6. RRANTIES - Seller warrants that all soods sold f; if iry interest and will make available to, Bi all transferable warranties q sr by the manvfacturer of the gocds. SELLER
MAKES NO.OTHER BAPRESS OR ages A SBA HESS CGR SEE CASTS Sates NO IMPLIBO WARRANTIES OF MERCIAN TANCE? Ae Rese Ta Rese, URI ces

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OTA R AGREED IN WE BY AN AUTHORIZED REPRESENTATIVE OF SELLER, PRODUCTS SOLD HERBUNDER s NOT INTENDED FOR USE IN OR IN CONNECTION WITH A
; -

7, LIMITATION. OF LIABILITY - Buyer's remedies under this contract are subject to Timitati tained in manufacturer's terms and conditions to Seller, a copy of which will be furnished upon
Si eee Stanmore “Sellers ebuity cull be, lenited to SHiee tepair or replacement of ie geods or refund af the purchase price, alt at Sellee's option, and WY om case shalt Sotiee be liable tor
scecial ar consequential damages. In addition, claims for shortages, other than loss in cransit, must be made in writing wot more than five’{5) days after receipt of shipment.

3. WAIVER - The failure of Seiter ta insist upon the performance of any of the terms or conditions of this contract or to exercise any right hereunder shall not be deemed ro ce a waiver of such terms,
conditions or rights in the fuiure, nor shall it Pe eermed to bea ‘waiver of any otfer term, condidon, or right under this contract. y righ

9. MODIFICATION OF TERMS AND CGNDITIONS - No tenns and conditions other than those stated herein, and no agreement or understanding, in any way purporting to modny these terms or
conditions, sare binding on Seller without The Seller's writen consent, ‘Any additional of disterent aes to the Buyer's term ae Rereby Seemed to be atonal” alleranars ang nonce of objection to them
and rejection of them is hereby given. -

10. REELS - When the Seller ships remummable reels, a reel deposit will te included in the invoice. The Buyer should contact the nearest Graybar service Iceation to retum reels,

(i,  — CERTIFICATION - We hereby certify that these, goads were produced in_ compl with ail applicable requirements of sections 6, 7, and 12 of the Fair Labor Standards Act, as amended, and of
regulations and orders of the United Sates Bat th of Shor isoued under section Ey trerect. pp 7 .

Return this copy with your payment.
Case 09-10138-MFW Doc 1348-1 Filed 08/19/09 Page 15 of 23

Remit to : &

INVOICE

rs ads 703-631-8600
PO BOX 403049 Reprint
ATLANTA GA 30384-3049 Invoice No: 939027092
Invoice Date: 01/09/2003
Account Number: 222639
Account Name: NORTEL GOVERMENT
BHI-To: Ship-To:
PAIR AN ry SES CIRCLE SOCIAL SECURITY ADMIN,
en 203 PATRICK GOINS/NGS 703-219-1884
9150 GUILFORD ROAD
COLUMBIA MB 21648
USA
Page 1 of 1
[ Order Number: POOS-0001 i
Del .Doc.#: [PRO # Routing Date Shipped |Shipped From F.O.B,. Rt. To
325477747 01/02/2008 FACTORY
Quantity | Catalog # / Description Unit Price / Unit | Amount
3 JIC-63050 JONARD INDUSTRIES CORP 12.69 / 1 38.07
HIGH LEVERAGE CABLE CUTTER
Inbound Freight 3.25
Terms of Payment Sub Total: 47.32
Net 36 Days Freight: 0.00
As a condition of the sales agreement, a monthly Handling: 0.00
service charge of the lesser of 1-1/2% or the maximum | Tax: 2.84
permitted by law may be added to all accounts not paid| Total Due: 50.16
by net due date. Visa, MasterCard, American Express,
and Discover oredit cards are accepted at point of
Purchase only.

Terms and Conditions of sale:

i. ACCEPTANCE OF ORDER; TERMINATION ~ Acceptance of any order _is subject to credit, gepoval and acceptance of order by Seller and, whea anplicable, Seller's suppliers. H Buyer's eredit becomes
unsatisfactory to Seller, Seller reserves Tight to terminate upon nolice ta Buyer and without Hability to Seller.

2, PRICES AND SHIPMENTS - Unless otherwise quoted, prices shall be those in effect at ime of shipment which shalt be made F.O.B. shipping point. prepaid and Dill.
3. RETURN OF GOODS - Credit will be allowed for goods retumed with prior approval. A deduction will be made from credits issued to cover cost of handling.

4. TAXES - Prices shown do not include. sales or other taxes imposed on the sale of soads. Taxes now or hereafter imposed upon sales or shipments will be added to the purchase price. Buyer agrees 10
relmburse Seller for any such tax or provide Seller with accepiable tax exemption certificate, :

5. DELAY IN DELIVERY - Seiler is not to be ‘accountable for delays in delivery occasioned by a¢ts of God, failure of its suppliers to ship or deliver on tima, or other circumstances beyond Seller's .
rensppatle control, Pacsory shipment or delivery dates are the best estimates of ou suppliers, ang in no case shall SeHer be liable for any consequential or special damages arising from any delay in shipment
or

& WARRANTIES « Sell it
ale B er warrants that af!

goods sald are free of any security inevest and will Taake available to Buyer all wansferabie warranties made to Selley by, Ihe manufacturer of ihe gocds, SELLER
NO OTHER BARR ERS, OR IMELIED WARRANTIES, ANE) SPECIFICALLY MAKES NG {MEIER WARRANTIES OF MERCHANTABILITY OR FITNESS FOR PURPOSE. UNLESS
QUEER DE AGREED i RITING BY AN AUTHORIZED REPRESENTATIVE OF SELLER, PRODUCTS SOLD HEREUNDER ARE NOT INTENDED FOR USE IN OR IN CONNECTION WITH A

7. LIMITATION OF LIABILITY - Buyer's remedies under this tqntract are subject to any limitations contained in mamufactmer's terms ard conditions to Sejler, a copy of whic Will, be ished unga
written request. Furthermore, Seller's lability shall be linmjied 40 either iepair ‘or sepiacemént of the soods or Jefand of the purchase proce, ail at Seller's option, and in no case shail Seller be lable for
special or ‘consequential damages. In addition, claims for shomages, other {oss in transit, must be made in wring nol more than five (5) days after receipt of shipment.

8. WAIVER - ‘The failure of Seller to insist upon the formance of any of the terms or conditions of this contrac! or to axercise any right hereunder shall uot be deemed to be a waiver of suck terms,
eondions or tights in the fukure, nor shall f, pon, he peta be a walver td any other term, condition, or right under this conmrect, y Tigh

2 MODIFICATION OF TERMS AND, CONDITIONS - No terms and conditions other than those staied herein, and no agreement or understanding, in any way purporting to modify these terms

10 z i ermts oF
conditions, shall be binding on Seller without the Seller's written consent. Ay addiianal or different terms in the Buyer's form are hereby deemed io be materia! alterations and notice of objeciion to them
ant rejection of them 1s hereby given,

I. REELS - When the Seller ships rerurnable reels, a reel deposit will be included in the invoice. ‘The Buyer should contact the nearest Graybar service locarion to renum reels.

li. | CERTIFICATION ~ We hereby certify that these goods were produced in compliance with all applicable requirements of sections 6, 7, and J2 of the Fair Labor Standards Act, as amended. and of
Temdanons and orders of the United Simes Department of Labor issued under section [4 thereof,

Return this copy with your payment.
Case 09-10138-MFW Doc 1348-1 Filed 08/19/09 Page 16 of 23

Remit to : &

INVOICE

703-631-8600

PO BOX 408049 Reprint
ATLANTA GA 30384-3049 Inveice No: 939046342

Inveice Date: 01/12/2009

Account Number: 222639

Ascount Name: NORTEL GOVERMENT
Biil-To: Ship-To:
NORTEL GOVERMENT SOLUTIONS, INC. °
12730 FAIR LAKES CIRCLE Soe ee ey AN ATON
hen VA 22033 PATRICK GOINS/NGS 703-218-1884

$150 GUILFORD ROAD
COLUMBIA MD 21046

USA
Page t+ of 7
Order Number: POOS-0001
Del.BDoc.#: | PRO # Routing Date Shipped |Shipped From F.O.B. (iRt. To
S25477747 01/05/2009 FACTORY :
Quantity | Catalog # / Description Unit Price / Unit | Amount
3.1573 PALADIN CORPORATION 69.39 / 3 208.47
LAN & TELECOM TESTER KIT
Terms of Payrnent Sub Total: 208.17
Net 30 Days Freight: 0.00
As a condition of the sales agreement, a monthly Handling: 0.00
service charge of the lesser of 1-1/2% or the maximum Tax: 12.50
permitted by law may be added to all accounts not paid! Total Due: 220.87
by net due date. Visa, MasterCard, American Express,
and Discover credit carda are accepted at point of
purchase only.

Terms and Conditions of sale:

1. ACCEPTANCE OF ORDER: TERMINATION - Acceptance of der is sublect to credit approval and i of order by Seller and, when applicable, Seller's suppliers. If Buyer's credit becomes
unsatisfactory to Seller, Seller véserves the right to ténmunate pen nonce. fa Teaver and wathout ‘Taeity wo Sen ance y pe uP 4

2. PRICES AND SHIPMENTS - Unless atherwise quoted, prices shal} be those In efiect at time of shipmient which shall be made P.0.B. shipping point, prepaid and bill.
3. RETURN OF GOODS - Crediz will be allowed for gcods retumed with prier approval. A deduction wali be made from credits issued to cover cost of handling,

4,, TAKES - Prices shown do not include. sales or other taxes imposed on the sale of goods, Taxes now.or hereafter Imposed upon sales or shipments will be added to the purchase price. Buyer agrees to
reimburse Seller for any such tax or provide Seller with acceptable tax exemption certificate.

5. DELAY IN DELIVERY - Seller is not to be accountable for delays in delivery occasioned by acts of God, falure of its suppliers to ship or deliver on tints, (OF, other circumstances beyond Seller's
any quential or spect: 1

reasonable control. Factory shipment or delivery dates are the best eslimates of our suppliers, and in no case Shell Seller bs liable for ising from any delay in shiproent
or delivery. |

5. WARRANTIFS cpu, ames, ta all goods sold are free of any security interest and wil] make available @ Buyer. a transferable warranties made to Seller by the manufacmser of the goods, SELLER

ti a
MAKES NO MPLIED WAR 4 CIFICALLY MAKES NO IMPLI ES OF MERCHANTABILITY OR FITNESS FOR PURPOSE URLE:
CECE OE aR REP IN WRITING BY AN SOS REPRESENT JIVE OF SELLER, PRODUCTS SOLD HEREUNDER ARB NOT INTENDED FOR USE IN OR IN CONNECTION WITH A

y limitations ¢ ined in manufectucer's teers and conditions to Seiler, a copy of which will be furnished upen
written request. Furthermore, Seller's Habiiiy shall be limited to either repair or replacemént of the eres, oF refund of he pu Price, al EE STRES Sou oh! in fo case shall Seller be lable ‘tor
is than: ff 3] pment.

&. WAIVER - The failuze of Seller to insist upon the performance of any oF the terms or conditions of this contract or to exercise any right hereunder shall not be deemed w be a waiver of such terms,
conditions or rights in the furure, nor shalf it be deemed to be 2 waiver of any other term, condition, or right under this contract,

9. MODIFICATION, OF. TERMS BND CONDITIONS 7 No terms and conditions other than those stated herein, and oo agreement or understanding, in any way purporting te modify

. these terms or
conditions, shall miding on Seller withour the Seler's writen consent. Any additional or different terms in the Buyer's form are hereby deemed to be material alterations and notice of objection to them
and mjection of them is Eereby given,

Io.

REELS - When the Seller ships returnable reels, a reel deposit will be included in the invoice. The Buyer should contact the nearest Graybar service tocation t retum reels,

il. | CERTIFICATION + We hereby certify that these 20008 were produced in compliance with all appiicadle requiremenss of sections 6, 7, and 12 of the Fair Labor Standards Act, as amanded. and of
zegulations and orders of ihe United Siates Départment of Labor issued under section [4 thereof.

Return this copy with your payment.
Case 09-10138-MFW Doc 1348-1 Filed 08/19/09 Page 17 of 23

Remit to ; &

INVOICE

716-565-5900

12444 COLLECTIONS CENTER DRIVE Reprint

CHICAGO IL 60693-2444 Invoice No: 939057310
Invoica Date: 01/12/2009
Account Number: 134473
Account Name: NORTEL NETWORKS

Bill-To: tata

NORTEL NETWORKS Bee aOYCE

ACCOUNTS PAYABLE
ATIN: RANDY FOX 812-560-9190

300 CANAL VIEW BLVD.

ROCHESTER - 2001 SOUTH TIBBS AVENUE

ER NY 14623 INDIANAPOLIS IN 46241
USA USA

Page 1 of 17

Order Number: 4320039150-77 208564/AA53750/GAYLORD

Del.Doc.#: {PRO # Routing Date Shipped | Shipped From F.O.B. |Rt. Po

832623646 12E9WO02103134274114 UPS-GROUNB 01/12/2009 ZONE-JOLIET, IL S/P_- FIA

Quantity | Catalog # / Deseription Unit Price / unit | Amount
25. ATIB01EV-GY ALLEN TEL PRODUCTS INCORPORATED 1.47 } 1 36.75

CAT SE VIP_1FT GRY

Terms of Payment Sub Total: 36.75
Net 30 Days Freight: 0.00
As a condition of the sales agreement, a monthiy Handling: 0,00
service charge of the lesser of 1-1/2% or the maximum | Tax: 2.57
permitted by law may be added to ail accounts not paia| Total Due: 39.32

by net due date. Visa, MasterCard, American Express,
and Discover credit cards are accepted at point of
purchase only.

Terms and Coniitions of sale:

i. ACCEPTANCE OF ORDER; TERMINATION - Acceptance of any order_is subject to credit, approval and acceptance of order by Seller and, when applicable, Seller's suppliers. if Buyer's credit becomes
unsatisfactory to Seller, Seller reserves the right to ‘amma Upon notice to Buyer ta without ‘iaality to ten : y pple PP my °

2, PRICES AND SHIPMENTS ~ Unless otherwise quoted, prices shall be those in effect az time of shipment which shall be made F.0.B, shipping point, prepaid and bil,
3. RETURN OF GOODS - Credit will be allowed for goods returned with prior epproval. A deduction will be made from credits issued to cover cost of handling.

4. TAXES - Prices shown do not include sales or other taxes imposed on the sale af soods. Taxes now or hereafter imposed upon sales or shipments will be added to the purchase price. Buyer agrees 10
reimburse Seller for any such tax or provide Seller with acceptable tax exemption ceniificare,

3. DELAY IN DELIVERY - Seller is not_to be acccuntable for delays in delivery occagjoned by acts of God, failure of its suppliers 10 ship or deliver an time, or other circumstances beyond Seller's .
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reasonable control, Factory shipmeni or delivery dates are the dest estimates of our supp a ho case shall Seller be lisole for any cansequenrial or special damages arising ftom any delay im snipment
T EYCTY.

6, WARRANTIES . Seiler warrants thar ail goods sold free of ity interest and wil] make available ta B all qansferable warramies made to Seller by the manufactorer of the
Rares OPER EXPRESS OR MRED WARRANTIES, AND SPECIFICALLY MARES NO IMELIED WARRANTIES OF MERCHANTABILITY OF TENE fe
ROPE SE AGREED IN WRITIM Y AN AUTHORIZED REPRESENTATIVE OF SELLER, PRODUCTS SOLD HEREUNDER ARE NOT INTENDE

7. LIMITATION OF LIABILITY ~ Buyer's remedies under this cantract are subject to any limitations cantained in manulacnorer's terms and conditions to Seller, a copy of which, will be famished upon
written request. Furthermore, Seller's lasility shall be, iuited to either repair er replacement of the goods or refund of the purchase price, all at Seller's option, and in no case shall Seller be Hable ‘for
special or consequential damages. In addition, claims for shortages, other Joss in trausit, must be made in writisg not more than five (S> days after receipl of shipment.

8 WAIVER -. failure of Soller to insist upon the performance of any of the terms or conditions of this contract or to exercise any right hereunder shall not be deemed to be a waiver of such terms,
cordittons or rights in the future, nor shall ir be deemed to be a waiver of any eiher term, condition, or right under this contract,

3. MODIFICATION OF TERMS AND CONDITIONS - No terms and conditions other than those stated herein, and no agyeernent or understanding, in any way purporting to modify these ierms or

conditions, shall be binding on Seller without the Seller's written consent. AMY acditional OF dee rent terms in the Buyer's form are hereby deemed ta be Ahaterial’ eterations and anne of objection to them
anc rejecton of them is hereby given.
1. REELS - When the Seller ships returmable reels, a reel deposit will be ineluded in the invoice. The Buyer should contact the nearest Grayoar service location to retum reels.

il. | CERTIFICATION - We_ hereby certify that these goods were produced in compliance with all applicable requirements of sections 6, 7, and 12 of the Pair Labor Standards Aci, as amended, and of
regulations and orders of the United States Beara of Labor issued under section 4H thereof. FP ™ '

sods. SELLER
$5 FOR PURPOSE, UNLESS
FOR USE IN OR IN CONNECTION WITH A

Return this copy with your payment.
Case 09-10138-MFW Doc 1348-1 Filed 08/19/09 Page 18 of 23

Remit to: &

INVOICE

703-631-8660

PO BOX 403049 Reprint
ATLANTA GA 30984-3049 Invoice No: 939046342
Invoice Date: 01/12/2099
Account Number. 222639
Account Name: NORTEL GOVERMENT
Bill-To: Ship-To:
[e720 FAIR LAKES CIRCLE SOCIAL SECURITY ADMIN,
ens VA 22033 PATRICK GOINS/NGS 703-219-1884

9150 GUILFORD ROAD
COLUMBIA MD 21046

USA
Page 1 of 1
Order Number: POOS-0001 /
Del.Doc.#: {PRO # Routing Date Shipped {Shipped From F.0.B. Rt. To
325477747 01/05/2009 FACTORY
Quantity | Catalog # / Description Unit Price / unit | Amount
3. 1573 PALADIN CORPORATION 68.39 / 1 208.17
LAN & TELECOM TESTER KIT
Tarms of Payment Sub Total: . 208.17
Net 30 Days Freight: 9.00
Ags a condition of the sales agreement, a monthly Handling: 6.00
service charge of the lesser of 1-1/2% or the maximum Tax: 12,50
permitted by law may be added to all accounts not paid| Total Due: 220.67

by net due date, Visa, MasterCard, American Express,
and Discover credit cards are accepted at point of
purchase only.

Terms and Conditions of sale:

|. ACCEPTANCE OF ORDER; TERMINATION ~ Acceptance of any order is subject tq credit approval and acceptance of order by Seller and, when applicable, Seller's suppliers, If Buyer's credit becomes
1 iit aptory to Seller, Setter reserves the right to temmisate upon pokes to Bayer edd without liablity 1¢ Seller. mI ¥ P PP ¥

2, PRICES AND SHIPMENTS - Unless otherwise quoted, prices shall be those in effect at time of shipment which shall be made F.O.B. shipping point, prepaid and bill.
3. RETURN OF GOODS - Credit will be allowed for goods returned with price approval. A deduction will be mace from credits issued to cover cost of handling.

4. TAXES - Prices shown do rot include sales or other taxes i dan the sale of toods. Taxes now,or hereafter imposed upon sales or shipments will be added to the chase price, Buyer agrees ra
reimburse Seller for any such tax or provide Seller wih poveptable Tax exemption certificate. Pes po p pu ® ver et

3. DELAY IN OELIVERY - Seller ig not to be acccuntable for delays in delivery occasioned by acts of God, failure of is suppliers w shin or deliver on time, or other circumstances beyond Seller's _
eee eee Factory shipment or delivery dates are the best estimates of cur cupplicrs, al th no case Shali Seller he 1k FS fer any consequential or special damages arising from ay delay in shipment

& WARRANTIES - Sell rants that all goods sold fi if secu Herest ard will wake available to Buyer all wansferable warranties made to Seller by the Fechiver of the goods. SELLER
SAKES NO OTHER EXPRESS GR IMPLIED WARRANTIES, “ANN SPECIFICALLY MAKES NO IMELTED, WARRANTIES OF PERT AMES BEE ele by ee era ee IE ares

GU EHER RSE AGREED IN WRITING BY AN AU RIZED REPRESENTATIVE OF SELLER, PRODU LD HEREUNDER ARE NOT INTENDED FOR USE IN GR IN CONNECTION WITH A
f #" ©

7. LIMITATION OF LIABILITY - Buyer's remedies under this contract are subject tc any Jimitations coniained in marusfarturer's terms and conditions to Seller, a copy of which will be fimnished upon
writen request. Furthermore, Seller's liapiliry shall be limited to either repair oF replacement of the gocds or refund of tke purchase Dulce. a & Seller's option, j am no vase shall Seller be table “for
Special or consequential damages, In addition, claims for shortaves, other £ loss In transit, must bé made in writing mnt more than’ five (5) days ater receipt of saipmen,

8. WAIVER - The failure of Sefer to insist upon the performance of any of the terms or conditions of this contract or. ia exerciss any right hereunder shall not be deemed to be 2 waiver of such terms,
conditions or rights in the futuré, nor ‘hail Tc te deemed to be a waiver bE any ole term, conataon, or right under this contract. y righ
eee | ATION, OF me oh AND CONDITIONS - No terms and conditions other than Gee stated herein, and no,agreement or uaderganding. in any way j Puppong wo modify these Terms

fe

. yerms or
c on Seiler withour the Setier‘s written consent. Any additional nt terms in the Buyer's form are hereby deemed’to be material alierations and notice af objection to ihem
and rejection of them is Bgreby siven.

10. REELS - When the Seller ships retumable reels, a reel deposit will be inched in the invoice. The Buyer should contact the nearest Graybar service location to rem reels.

HM. CERTIFICATION - We Meyres, certify that these goods were Produced in compliance with all applicable requicements of sections & 7, and £2 of the Pair Labor Standards Act, as amended, and of
tegulations and arders of the Unked Staes Déparment of Labor issued under section 14 thereof.

Return this copy with your payment.

Case 09-10138-MFW Doc 1348-1 Filed 08/19/09 Page 19 of 23

Remit to : &

INVOICE

a S 703-631-8600
PO BOX 403049 Reprint
ATLANTA GA 30384-3049 Invoice No: 939646343
Invoice Date: 01/12/2069

Account Number: 222639
Account Name: - NORTEL GOVERMENT

Bill-Ta: .
Ship-To:

NORTEL GOVERMENT SOLUTIONS, INC, GENERAL DYNAMICS INFORMATION TECHNOLOGY
12730 FAIR LAKES CIRCLE ROGER MORRELL 571-298-2794

FAIRFAX VA 22033 8535 TERMINAL ROAD, SUITE J

USA LORTON VA 22079

USA
Page 1 of 1
Order Number: POGS-0033 |
Del.Doc.#: |PRO # Routing Date Shipped |Shipped From F.0.8. jRt. To
832632153 GB TRUCK 01/12/2009 STERLING, VA PPD - Bil
Quantity | Catalog # / Description Unit Price / Unit [ Amount
50 ATI507EV-BU ALLEN TEL PRGDUCTS INCORPORATED 3.62 / 1 181.00
CAT 5E VIP 7ET BLU :

Terms of Payment Sub Total: 181.00
Net 30 Days Freight: 25.00
AS a condition of the sales agreement, a monthly Handiing: 0.00
service charge of the lesser of 1-1/2% or the maximum | Tax: 9.05
permitted by law may be added to all accounts not paid| Total Due: 215.95
Soy met due date. Visa, MasterCard, American Express,

and Discover credit cards are accepted at point of

purchase only.

Terms and Conditions of sale:

1, ACCEPTANCE OF ORDER; TERMINATION - Acceptance af any onder is subject to credit_ approval and acceptance of order by Seller and, when applicable, Seller's suppliers. [f Buyer's credit becomes
unsatstactory to Seller, Seller reserves the right to terminate upon notice to Buyer and without liabiicy ta Seller,

2, PRICES AND SHIPMENTS - Unless otherwise quoted, prices shall be those in effect at time of shipment which shall be made F.0.8. shipping point, prepaid and bill.
3. RETURN OF GOODS - Credit will be allowed for goods retuned with prior approval. A deduction will be made from credits issued io cover cost of handling.

4. TAXES - Prices sbown do not include sales or other taxes imposed on the sale of goods. Taxes now or hereafier imposed upon sales or shipments will be added to the hase price. Buyer agrees to
reimburse Seller for any such tax or provide Sefier with acceprable tax exemption certifeate, impo pO pm Purr. Pp Wer apt

5. DELAY IN DELIVERY «+ Seller is not to be accoumable for delays in delivery occasioned by acts of God, failure of its suppliers to ship or deliver on dime, or orker cirenmstapces beyond Seller's
Lmaics

reasonable control. Faciory shipment or delivery dates are the best os our suppliers, and in re case shall Seller be liable for any consequential er special damages arising from any delay in shipment
OF denvery,

6& WARRANTIES - Sell ants that all good td free of ity interest and will maxe available to, Buyer all erable wetranties mace to Seller by the manufecturer of the goeads, SELLER
MAKES NO OTHER EXE BES. OR IMPLIED WARRANTIES, AND SPECIFICALLY. MARES NQ AMPLIED GARE A Ee aE VE ERNE Bate? Ok EPRESs POR CU RpOE UNI ees

Qi PRR ISE BED IN W N AUTHORIZED REPRESENTATIVE OF SELi! SGLD HEREUNDER ARE NOT INTENDED FOR USE IN GR IN CONNECTION WITH A
NUC ¢ .

7, LIMITATION OF LIABILITY « Buyer's remedies under this contract are subject to any limitations contained in manufacturer's terms ard conditions to Seller, a copy of which will be furnished upon
written request, Furthermore. Seller's [ability shall be limmed to either repair ‘or replacement of the, goods or, refund of the purchase price, al at Seller's option, acd mt no case shall Seller be Hable ‘tor
special or consequential damages. in addition, slaims for shortages, other than loss in transit, must be made in writing not mote than hve (@) days aner receipt of shipment.

8. WAIVER - The failure of Seller to Insist upoa, the performance of any of the (enms or conditions of this contract or, 10 exercise any right hereunder shall cot be deemed to be a waiver of such cermms,
conditions or rigbts in the future, nor shall it be deemed i be o waiver “of any other term, conchtion, or right under this contract.

9, MODIFICATION OF TERMS AND. CONDETIONS ~ Na terms ari conditions other than {hose stated herein, and ao agreement or understanding, in any was

10 : iy purparting io modify these texas or
conditions, sail ie binding on Seller w er's written consent. Any additional or different terms in dhe Buyer's “form are kereby dee oO be tnaterial allerations and otise of o>jection to them
and rejection ol ma is hereby given,

10. REELS - When the Seller ships returnable reels, a ree] deposit will be included in the invoice. The Buyer should contact the nearest Graybar service Iccation to retura reels,

i CERTIFICATION - We hereby certify that these. soods ere produced in cemuliance with all applicable requirements of sections & 7, and 12 of the Pair Labor Standards Act, as amended, and of
resulaions and orders Ni United Sines Way aha ot Labor Yesued. idee section 14 thereae 7 oe ° .

Return this copy with your payment.
Case 09-10138-MFW Doc 1348-1 Filed 08/19/09 Page 20 of 23

Hermit to :

INVOICE

‘@ 703-631-8609
PO BOX 403049 Reprint
ATLANTA GA 30384-3049 Invoice No: 9359060758
invoice Date: 01/42/2008
Aecount Number: 222639
Account Name: NORTEL GOVERMENT
Bill-To; Ship-To:
NORTEL GOVERMENT SOLUTIONS, INC, GENERAL DYNAMICS INFORMATION TECHNOLOGY
12730 FAIR LAKES CIRCLE ROGER MORRELL 571-238-2734
FAIRFAX VA 22033 8535 TERMINAL ROAD, SUITE J
USA LORFON VA 22079
USA
Page 1 of 1
i Order Number: PGOS-0033
Del .Doc.#: |PRO # Routing Date Shipped |Shipped From F.O.B, |RtL. To
832632053 122911690363190864 UPS-GROUND 01/12/2009 LANHAM, MD PPD - Bil
Quantity | Catalog # / Description Unit Price / Unit | Amount
80 ATISI0EV-BU ALLEN TEL PRODUCTS INCORPORATED 4.49 / 1 369.20
CAT 5& VIP JOFT BLU
Terms of Payment Sub Totak: 359.20
Net 30 Days Freight: 7.74
As a condition of the sales agreement, a monthly Handling: 3.06
Servine charge of the lesser of 1-1/2% or the maximum Tax: 17.36
permitted by law may be added te ail accounts not paid] Total Due: 387.87
by net due date. Visa, MasherCard, American Express,
and Discover credit cards are accepted at point of
purchase only.

Terms and Conditions of sale:

i, ACCEPTANCE OF ORDER; TERMINATION - Acceptance of any order_is subject 1 ¢redil approval and acceptance of order by Seller and, when applicable, Seller's suppliers. Lf Buyer's credit becomes
thea easton to Seller, Seller reserves the right to terminate UpOF noice to "Buyer aad withous Tatty ia Seller. P ¥ oP eP 3

2, PRICES AND SHIPMENTS - Unless otherwise quoted, prices shail be those in effect at time of shipment which shall be made F,Q.B. shipping point, prepaid and bill.
3. RETURN OF GOODS - Credit will be allowed for goods returned with prior approval. A deduction will be made from credits issued to cover cast of handling.

4. TAXES - Prices shown do not include sales or other taxcs ienposed on. the sale of, . Taxes now-or hereafter imposed upon sales or shipments will be added to the purchase price. Buyer agrees to
reimburse Seller for any such tax or provide Seller with acceptable lax exemption certificate.

3. BELAY [IN DELIVERY - Seller is not to be accountable for delays in delivery occasioned by acts of Gi ie of jis suppliers to ship or deliver on time, or other circumstances beyand Seller's _
reasonable control, Factory shipment or Belivery dates are the best estimaics of oe suppliezs, an & no cant nit Seller be fable for any Ponsequential ot special damages arising tom ay delay in shipment
Every. .

6, WARRANTIES - Sell that all goods sold are free of ite in ill rake available to Buyer all ! ries made to Seller by the avaufachuer of the soods, SELLER
MARES NO OTHER ERPS ESS De TABLED WAR ARTIS, AS SPECS cARGEESS Sa iL rake available 1 Pune il aroerabie. wwarrareles mvs tp Seller by the auenutagharrs of the, sols.
OTRFRWISE AGREED IN WRITING BY AN AUTHORIZED REPRESENTATIVE OF SELLER, PRODUCTS SOLD HEREUNDER ARE NOF UNTENDED FOR USE IN OR IN CONNECTION WITH A

7. LIMITATION OF LIABILITY | Buyer's remedies under this contact are subject io any limbations contained in manufacturer's terms and conditions 10 Seller, a copy of which will_be furnished upon
wriittn tequest. Fumthermore, Seller's labi

IL
pility shall be. lirsited to elther repair or replacement of the goods oF refund of tke purchase price, gif ar Seller's option, and in no case shall Seller be liahle for
Special or ‘consequential damages. in addition, claims for shortages, olher than loss in transit, must bé made in writing not more than five (5) days after reéeipt of shipment.

8. WAIVER - The failure of Seller to insist upon, the performance of any of the terms or corditfons of this contract or to exercise right hezeunder shal} net be deemed to be a waiver of such lerms,
conditions oy rights in the Giure, nor shall 1, be deemed to be a waiver ‘oe any olher term, Cone tton, nis under this contract. any righ

9. MODIFICATION, OF TERMS AND CONDITIONS - No terms and conditions other than those stated herein, and no agreement or understanding, in any wa ting to modify ihese terms or
coudiions, Shall be binding on Seller without the Sellar’s wrilten consent. Any m5 or different terms in the Buyer's form are hereby deemed to Re Sarena al eyations amd nofice af ebjection to them
ANG rejection ol Mm 15 hereay given.

18. REELS « When the Seller ships rerumable reels, a reel deposit will be included in the Invoice. The Buyer showd contact the nearest Graybar service location to rerum reels.

Ll. | CERTIFICATION - We pareby certify that Use goods were produced in cormpliance with all applicable requirements of sections 6, 7, and 12 of the Fair Labor Standards Act, as amended, and of
regulations and orders of the United Sfaies ibepartinent oF Labor issued under section [4 thereat,

Return this copy with your payment.
Case 09-10138-MFW Doc 1348-1 Filed 08/19/09 Page 21 of 23

Remit to : &

INVOICE

PO BOX 403049 Reprint
ATLANTA GA 30384-3049

Bi-To:

NORTEL GOVERMENT SOLUTIONS, INC.
12730 FAIR LAKES CIRCLE

FAIRFAX VA 22033

703-531-8600

Invoice No: 939085088

Invoice Date: 01/13/2009

Account Number: 222639

Account Name: NORTEL GOVERMENT
Ship-To:

NORTEL GOVERMENT SOLUTIONS, INC.
12730 FAIR LAKES CIRCLE

FAIRFAX VA 22033

USA USA
Page 1 of 2
Order Number; POO9-0038
Del.Doc.#: [PRO # Routing Date Shipped |Shipped From F.0.B. | Rt. To
832643672 COUNTER 01/13/2003 STERLING, VA S/P_- FIA
Quantity | Catalog # / Description Unit Price / Unit | Amount
2. S89B THE SIEMON COMPANY 1.57 # 1 3.14
MOUNTING BRACKET
100 JDWS3C  METALLICS INCORPORATED 3.70 f/f 100 3.70
6X1-1/4 SELF TAP SCR
1 HLS-15RO  PANDUIT CORP 19.12 / 1 19.12
CABLE TIE BLACK
2 25-3-CC-25-GY__ ALLEN TEL PRODUCTS INCORPORATED 27.85 / 1 §5.70
26PAIR TELCO FF 25FT
1 25-3-CX-15-GY ALLEN TEL PRODUCTS INCORPORATED 21.57 / 1 21.57
25PAIR TELCO F-BL_15FT
1  98002BT KLEIN TOOLS INC 7.08 / 1 7.08
BEVERAGE TOOL - STAINLESS STEEL W/ CUSHI
Terms of Payment Sub Totak 110.34
Net 30 Days . Freight: 0.00
As a condition of the sales agreement, a monthly Handling: 0.00
service charge of the lesser of 1-1/2% or the maximum | Tax: 5.62
permitted by law may be added to all accounts not paid} Total Due: 116.83
by net due date. Visa, MasterCard, American Express,
and Discover credit cards are accepted at point of
purchase only.

Subject to the standard terms and conditions set forth below
Case 09-10138-MFW Doc 1348-1 Filed 08/19/09 Page 22 of 23

&

Remit to :

12444 COLLECTIONS CENTER DRIVE
CHICAGO IL 60693-2444

Bill-To:

NORTEL NETWORKS
ACCOUNTS PAYABLE
300 CANAL VIEW BEYD,
ROCHESTER NY 14623

INVOICE

Reprint

716-565-5900

Invoice No: 939112601
Inveice Date: 04/14/2009
Account Number: 134413

Account Name: NORTEL NETWORKS

Ship-To:

METRO NORTH COMMUTER RAILROAD CO
ATTN: KEVIN WILSON 212-340-2935 1/235

*DOCK - DEPEW PLACE @ 457TH STREET

*DOCK - DEPEW PLACE @ 45TH STREET

USA 105 EAST 43RD STREET
NEW YORK NY 10017
USA
Page 1 of 2
Order Number: 4320039150-78 208564/AB13347001/JONES
Del .Doc.#: |PRO'# Routing Date Shipped jShipped From F.O.B. {Rt. To
832677742 12A6392R0302570293 UPS-GROUND 01/14/2009 ZONE-TAUNTON, MA SiP_- FIA
Quantity | Catalog # / Description Unit Price / Unit | Amount
16 ATI514EV-YL ALLEN TEL PRODUCTS INCGRPORATED 3.97 / 4 59.55
CAT 5E VIP 14FT YEL
20 ATIb514EV-GY ALLEN TEL PRODUCTS INCORPORATED 3.97 / 1 79.40
CAT 5E VIP 14FT GRY
3_ 25-3-PC-50-GY_- ALLEN TEL PRODUCTS INCORPORATED 42.40 / 1 127.20
25PAIR TELCO MF SOFT
1,000 PLT2S-M PANDUIT CORP 53.07 / 1000 53.07
LOCKING TIE BULK-PK
Item#:  P/N:20256
L000 XCW-1P24-GN/AWH-S-GCC GENERAL CABLE COMMDATA PRODS 28.05 / 1000 28,05
7023781 SPEC 5008
item: P/N:15604
Terms of Payment Sub Total: 347.27
Net 30 Days Freight & Handling: 0.00
As a condition of the sales agreament, a monthly ,
service charge of the lesser of 1-1/2% or the maximum Tax: 0.00
permitted by law may be added to all accounts not paid| Total Due: 347.27
by net due date. Visa, MasterCard, American Express,
and Discover credit cards are accepted at point of
purchase only.

Subject to the standard terms and conditions set forth below
Case 09-10138-MFW Doc 1348-1 Filed 08/19/09 Page 23 of 23

Remit to : &

INVOICE

716-565-5909

12444 COLLECTIONS CENTER DRIVE Reprint

CFECAGO IL 60683-2444 Invoice No: 9331124601

Invoice Date: 01/14/2009
Account Number: 134413
Account Name: NORTEL NETWORKS

Bil-Ta: Ship-To:

NORTEL. NETWORKS METRO NORTH COMMUTER RAILROAB CO
ACCOUNTS PAYABLE ATTN: KEVIN WILSON 212-340-2351/235

300 CANAL VIEW BLVD. . *DOCK - DEPEW PLACE @ 45TH STREET

Oa ESTER NY 14623 *DOCK - DEPEW PLACE @ 45TH STREET

105 EAST 43RD STREET
NEW YORK NY 140017
USA

Page 2 of 2

Order Number: 4320039150-78 208564/AB1 3347001 /JONES

Terms ard Conditions of sale:

i, ACCEPTANCE OF ORDER; TER ATION - Acceptance of det_is subject f dit wal and accept f order by Sell di, when applicable, Seller's suppliers. If Buyer's credtr becomes
unsatisfactory 10 Seller, Seller Seana oT to terminate Ton node 10 Buyer ind witout iad ay io Seller. ance oF onter OF eran PP PP 3

2. PRICES AND SHIPMENTS - Unless otherwise quoted, prices shail be tose in effect at time of shipment which shall be madz F.O.B. shipping point, prepaid and bill.

3. RETURN OF GOODS - Credit will be allowed for goods returned with prior approval, A deduction wilt be made from credits issued to cover cost of handling.

4., TAXES - Prices shown do not include sales or other laxes iy ou the sale of soods, Taxes naw or hereafter imposed upon sales or shipments will be added to the purchase price, Buyer agrees te
reimburse Seller for any such tax or provide Seller with acceptable tax exemption certificate.

5. DELAY IN DELIVERY - Seller is nat zo 6 cumable far delays in delivery occasioned is of God. failure of its jers to ship or deliver on time, or other circumstances beyond Seiler’s |
feasongoke control. Factory shipment or ‘elivery cates are the best ashiroares of our guppliers. ot a nO Case shail "Seller be mepplicrs omy comsequentiat OF spétial damages arising from any delay in shipment
it delrvery,

SU Re URIs SELLER
RIN CONNECTION WITH A

6, [ wansterable warranties made io Seller by the
MAKES NO OTHER’ EXPRESS OR IMPLIED WARRANTIES, AND SPECIFICALLY MAKES NQ IMP!

e 3 Hl.

WARRANTIES OF MERCHANTABILITY OR FITNESS FOR

CEPR WES i GREED IN WRITING 8Y AN AUTHORIZED REPRESENTATIVE OF SELLER, PRODUCTS SOLD HEREUNDER ARE NOT INTENDED FOR USE IN 0!
«LE, f . .

WARRANTIES — Seller warrants that all soods sold aré free of any security interest and will make eyayable to Bive

7. LIMITATION OF LIABILITY - Buyer's cemedies ‘er this contract arg subject to any limitations contained in manufacmurer's terms and conditions to Seller, a capy of which will be furnished upon
written request. Furthermore, Seller's ability shall Sd tO either repair oF cepiacencent of the goods or refund a he purchase rte, all at Seller's optics, and no case shalt Setler be liable Re
special or consequential damages. in addinosi, claims for shortages, other than loss in [ransit, roust be made in writing not more than five’ (5) days after receipt af shipment.

8. WAIVER - The failure of Seller to insist upon the performance of any of the terms or eondigions of this eenmact or to exercise any tight hereunder shall not be deemed to be a waiver of such terms,
conditions or tights in the future, nor shall it be deemed to be a waiver of any otber term, condition, or risht under this contract.

9. MODIFICATION OF TERMS AND CONDITIONS - Ne. terms and conditions other than those stated herein, and no agreement or understanding, in, any way purposting to modify these secs oF
conditions, shall be bincling oe Seller without the Sailers weinen consent, Any ditional or different terms in the Buyer's form are hereby deemed’'ta be Marra! aicatens and notice oF Neotion to them
and rajectio om Is heceby given. :

19. REELS ~ When the Setler ships retumable reels, a reel deposit will be included in the invoice. The Buyer should contaet the nearest Graybar service location te rerura reels.

IR, CERTIFICATION - We hereby certify that these ead were produced in compplfance with ali applicable requirements of sections 6, 7, and 1% of the Fair Labor Standards Act, as amended, and of
regulations and orders of the United ‘States Dépariment of 8 or issued under section 14 thereof,

Return this copy with your payment.
